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 1                        UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
 2
       * * * * * * * * * * * * * * * *         )
 3     UNITED STATES OF AMERICA,               )     Criminal Action
                                               )       No. 21-117
 4                      Plaintiff,             )
                                               )
 5       vs.                                   )
                                               )
 6     RYAN TAYLOR NICHOLS and                 )
       ALEX KIRK HARKRIDER,                    )     Washington, DC
 7                                             )     April 26, 2021
                        Defendants.            )     3:51 p.m.
 8                                             )
       * * * * * * * * * * * * * * * *         )
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          ARRAIGNMENT, STATUS CONFERENCE AND BOND REVIEW HEARING
11                          CONDUCTED VIA ZOOM
                  BEFORE THE HONORABLE THOMAS F. HOGAN,
12                     UNITED STATES DISTRICT JUDGE

13

14     APPEARANCES:

15     FOR THE GOVERNMENT:           BRITTANY A. KEIL, ESQ.
                                     DANIELLE S. ROSBOROUGH, ESQ.
16                                   UNITED STATES ATTORNEY'S OFFICE
                                       FOR THE DISTRICT OF COLUMBIA
17                                   555 Fourth Street, Northwest
                                     Eleventh Floor
18                                   Washington, DC 20530

19
       FOR THE DEFENDANT             FREDRICK R. FILES, JR., ESQ.
20               NICHOLS:            J. BRETT HARRISON, ESQ.
                                     FILES HARRISON, P.C.
21                                   109 West Ferguson
                                     Tyler, Texas 75702
22

23     FOR THE DEFENDANT             KIRA ANNE WEST, ESQ.
               HARKRIDER:            LAW OFFICES OF KIRA ANNE WEST
24                                   712 H Street, Northeast
                                     Suite 509
25                                   Washington, DC 20002
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 1     APPEARANCES, CONT'D:

 2     FOR PRETRIAL SERVICES:      CHRISTINE SCHUCK

 3
       REPORTED BY:                LISA EDWARDS, RDR, CRR
 4                                 Official Court Reporter
                                   United States District Court for the
 5                                   District of Columbia
                                   333 Constitution Avenue, NW
 6                                 Room 6706
                                   Washington, DC 20001
 7                                 (202) 354-3269

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 1
                                 I N D E X
 2

 3
                                          Direct       Cross      Redirect
 4

 5     WITNESSES FOR THE DEFENDANT:

 6     Donna Cox                             40           42

 7     John Anderson                         49           52

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 1                 THE COURT:    Call the case, please.

 2                 THE COURTROOM DEPUTY:      Your Honor, this afternoon,

 3     this is the matter of the United States versus Ryan Taylor

 4     Nichols along with Co-Defendant Alex Kirk Harkrider.            This

 5     is Criminal Record 21-117.

 6                 I'd ask that all parties identify yourselves for

 7     the record, please.

 8                 MS. KEIL:    Good afternoon, your Honor.       Brittany

 9     Keil for the United States.       Danielle Rosborough, who is

10     also representing the United States, will be on shortly.

11                 THE COURT:    Thank you.

12                 MR. FILES:    Good afternoon, your Honor.       Fredrick

13     Files and J. Brett Harrison for Mr. Nichols.

14                 THE COURT:    Good to see you, Mr. Files.       Thank

15     you.

16                 MR. FILES:    Thank you, your Honor.

17                 MS. WEST:    Good afternoon, your Honor.       Kira Anne

18     West for Mr. Alex Harkrider.

19                 THE COURT:    Thank, Ms. West.     I appreciate your

20     getting on.

21                 I take it, Mr. Harkrider and Mr. Nichols, you can

22     hear us all right?      You can just wave there without having

23     to do anything.

24                 (Defendants indicating.)

25                 THE COURT:    Thank you.
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 1                  This is both a status call for arraignments as may

 2     be necessary and discussions of further proceedings as well

 3     as a bond hearing for Mr. Harkrider.

 4                  The Defendants were originally assigned to Judge

 5     Ketanji Jackson of this Court.        Judge Jackson has been

 6     nominated for the Circuit Court and has a hearing starting,

 7     I believe, tomorrow.      So she is not going to be available to

 8     handle these cases, and they've been reassigned at random to

 9     judges, senior judges in this Court.

10                  I've had a chance to review the pleadings:         the

11     charges, the opposition filed by the Government, the two

12     motions for bond filed on behalf of Mr. Harkrider,

13     originally a motion to modify conditions and a motion to

14     revoke the order of detention.        But they're the same motion,

15     basically, combined.      So we'll cover those today.

16                  But as the Defendants haven't been arraigned, we

17     should do that at this time first.

18                  THE COURTROOM DEPUTY:     Stand by, your Honor.

19                  (Brief pause in the proceedings.)

20                  (Ms. Rosborough joins the proceedings.)

21                  THE COURT:   While we are getting ready for that,

22     I'll recognize that Ms. Rosborough has just appeared on

23     behalf of the Government as well.

24                  MS. ROSBOROUGH:    Good afternoon, your Honor.

25     Thank you.
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 1                 THE COURT:    Thank you.

 2                 THE COURTROOM DEPUTY:      Your Honor, Ryan Taylor

 3     Nichols and Alex Kirk Harkrider both stand before the Court

 4     charged on or about January the 6th of the year 2021 with

 5     one count each of civil disorder and aiding and abetting;

 6     one count of obstruction of an official proceeding, aiding

 7     and abetting; Count 3, assaulting, resisting or impeding

 8     certain officers using a dangerous weapon; Count 4, theft of

 9     government property.

10                 In Count 5, Mr. Nichols, you're charged with

11     entering and remaining in a restricted building or grounds

12     with a deadly or dangerous weapon.

13                 In Count 6, Mr. Harkrider, you're charged with

14     entering and remaining in a restricted building or grounds

15     with a deadly weapon or dangerous -- with a dangerous or

16     deadly weapon.

17                 In Count 7, Mr. Nichols, you stand before the

18     Court charged with disorderly and disruptive conduct in a

19     restricted building or grounds with a deadly or dangerous

20     weapon.

21                 In Count 8, Mr. Harkrider stands before the Court

22     charged with disorderly and disruptive conduct in a

23     restricted building or grounds with a dangerous or deadly

24     weapon.

25                 In Count 9, Ryan Taylor Nichols is charged with
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 1     unlawful possession of a dangerous weapon on Capitol grounds

 2     or building.

 3                 In Count 10, Mr. Harkrider is charged with

 4     unlawful possession of a dangerous weapon on Capitol grounds

 5     or building.

 6                 Count 11:    Mr. Harkrider and Mr. Nichols are both

 7     charged with one count each of disorderly conduct in a

 8     Capitol building.

 9                 In Count 12, Ryan Taylor Nichols is charged with

10     an act of physical violence in the Capitol grounds or

11     building.

12                 In Count 13, Mr. Nichols and Mr. Harkrider are

13     both charged with parading, demonstrating or picketing in a

14     Capitol building.

15                 Gentlemen, do you both understand the charges that

16     are before you today?

17                 (No audible response.)

18                 THE COURT:    You have to answer that verbally.

19     Turn on your sound, please.

20                 DEFENDANT NICHOLS:     Yes, your Honor.

21                 THE COURTROOM DEPUTY:      Mr. Harkrider, do you

22     understand?

23                 DEFENDANT HARKRIDER:      Yes, sir, I do.

24                 THE COURTROOM DEPUTY:      Mr. Nichols, do you

25     understand?
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 1                 DEFENDANT NICHOLS:     Yes, sir, I do.

 2                 THE COURTROOM DEPUTY:      Counsel, do you waive

 3     formal reading of the indictment?

 4                 MR. FILES:    We do, your Honor.

 5                 MS. WEST:    On behalf of Mr. Harkrider, we do, your

 6     Honor.    We waive formal reading and we enter a plea of not

 7     guilty.

 8                 THE COURT:    And ask for a jury trial?

 9                 MS. WEST:    Yes, sir.

10                 THE COURT:    All right.    Mr. Files, your client is

11     entering a plea of not guilty and asks for a jury trial?

12                 MR. FILES:    Yes, your Honor.

13                 THE COURT:    I'll put this down:      Both pled not

14     guilty as to each and every count in the case in both

15     indictments as to the felonies and the misdemeanors and both

16     request a jury trial.

17                 Let me just proceed on a couple of technical

18     matters before we get to the merits of these cases a little

19     bit.   And that is, this is a virtual hearing done over Zoom.

20     That has been the standard since we unfortunately had the

21     pandemic and shut the courthouse down.         We have not opened

22     the courthouse for in-person hearings in regular cases

23     unless there's an emergency.

24                 So I want to ensure that both counsel and the

25     Defendants are understanding we are proceeding by
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 1     videoconference under the CARES Act, they call it, the

 2     orders of the Chief Judge as well as under Rule 10 of the

 3     Federal Rules of Criminal Procedure, so that we can proceed

 4     through videoconferencing with the consent of counsel and

 5     the Defendants.

 6                  I have had no objections to proceeding in this way

 7     unless someone wants to object.

 8                  Secondly, we have a new law under Federal Rule of

 9     Criminal Procedure 5(f), the Due Process Protections Act.

10     This is your first appearance before this Court.           So I will

11     tell you orally, and I'll issue an order, that under Brady

12     versus Maryland, the Government has to be put on notice --

13     and I think they are anyway -- but they have to be put on

14     notice according to the law now that Government counsel is

15     ordered to review their disclosure obligations under Brady

16     as set forth under Local Criminal Rule 5.1 and comply with

17     those provisions.

18                  Failure to comply could result in dismissal of the

19     indictment, dismissal of the individual charges, the

20     exclusion of evidence, the exclusion of witnesses,

21     continuances, discipline or other remedies under the

22     circumstances as necessary.

23                  All right.   Let's see where we are at this time.

24     There's no pending motion by Mr. Nichols to review his bond

25     situation.    I have a pending motion by Mr. Harkrider which
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 1      I'll deal with shortly.

 2                 As to Mr. Nichols, Mr. Files, are you interested

 3      in -- I see a protective order is already issued -- in

 4      obtaining any further information not yet obtained or are

 5      you still waiting for the Government to produce its

 6      information and evidence they have as to your client?

 7                 MR. FILES:    Your Honor, Ms. Keil and I have had

 8      numerous conversations.      She has been trying to get us as

 9      much information as expeditiously as possible.          We had

10      discussed our agreement to waive speedy trial because of the

11      amount of discovery that's out there.        I think it's going to

12      be some time before she is able to get it to us.          She would

13      probably have a better guess on that than I would.

14                 But we do need to continue to receive and be able

15      to look at discovery before we can make intelligent

16      decisions on where we go from here.

17                 THE COURT:    I appreciate that.      I think you're

18      right.   We have, obviously, a lot of these cases, and it's

19      our experience the Government has still been collecting

20      evidence and video and reviewing it.

21                 They hope to have -- and Ms. Keil can advise me

22      where they are with this -- a central location for much of

23      the generic videos that involve many individuals.          Videos

24      for Defendants individually would be provided to them.           But

25      maybe there will be a generic location for looking at
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 1      everything provided by the Government.

 2                 The concern we have is, obviously, now both

 3      Defendants are detained.      And I think the Government has not

 4      been in a position yet -- again, in these cases now we have

 5      some information -- but there are two ways to proceed

 6      further.   We don't know all the evidence they have and where

 7      they're going.    And we have the new attorney general and the

 8      deputy attorney general.      We're still waiting for other top

 9      officials to be appointed.

10                 It's hard to see what the penalties are as to how

11      to best resolve these cases.       There have been maybe one or

12      two resolutions among the several hundred we have.

13                 But as far as the Court's concerned, overall, by

14      reaching these cases in a timely fashion where many of the

15      Defendants are detained -- and I have had one Defendant

16      demanding a trial, and the Government was put on notice that

17      they're going to have to do something about that pretty

18      quickly, because it's a very simple misdemeanor case and

19      there's no reason we can't proceed.

20                 But these are more involved, these two

21      individuals, reading the record that's been presented to me

22      at least, of their joining with the group that went to the

23      Capitol on January 6th, 2021.

24                 So I'll grant the request.       And the Defendants --

25      I take it we have the Defendants' consent to waive the
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 1      Speedy Trial Act and the Government has no opposition to

 2      that in conjunction with this type of case, which is a

 3      phenomenally involved case with a number of individuals, as

 4      well as under the Court's existing rules.

 5                 The Chief Judge, Judge Howell, has issued a series

 6      of orders now, eight orders since we ran into the pandemic,

 7      where we had a situation as to being unable to do trials.

 8      And the CARES Act was passed, giving the authority to the

 9      Chief Judge overall to issue court-wide standing orders

10      canceling and postponing all criminal trials, including the

11      Speedy Trial Act.     Together, her orders have excluded time

12      starting March 17th, 2020, up to the present date of August

13      31st, 2021.

14                 Now, the Court has attempted to begin some trials

15      starting this month.     They have not successfully started for

16      various reasons, either pleas or continuances.          There are

17      some concerns about getting juries in.        We've configured the

18      courtrooms to be as safe as possible.        I suspect if the

19      vaccines get further advanced and accepted by more people,

20      maybe we'll be able to get to trial sometime this summer,

21      hopefully, rather than moving it until August.

22                 But that is the present situation.        So I'm going

23      to waive the time at least till our next status call at this

24      time for Mr. Nichols; and at that point, we can reconsider

25      where we are.
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 1                   All right.   Both Defendants now -- I'm sure it's

 2      taken them a while to get to the DC Jail and they are now

 3      presently held at the DC Jail.       That is under a lockdown

 4      situation.    I don't know how much longer that's going to

 5      continue.    There has been some pushback on that.        It

 6      originally occurred last spring, when we had a COVID

 7      outbreak that was very severe at the prison.

 8                   They have enacted measures brought out by

 9      litigation before our Court.       Judge Kotelly entered an order

10      requiring the DC government to take certain steps to protect

11      the Defendants.

12                   And they have -- as part of that, they have

13      sequestered individuals.      They have been very successful.

14      Currently, maybe four people are isolated.         The ones that

15      are being isolated are apparently new arrestees who come in

16      who test positive.     There are very few, if any, people in

17      the general population at all.       It's been very successful,

18      in contrast to the federal system, which has not done that

19      well.   So I think there are vaccines available to the

20      Defendants, if they accept the offer of vaccines to protect

21      them as well.

22                   With that, we'll talk with Mr. Files once we

23      finish the bond hearing as to scheduling the next date with

24      both Defendants after they've had a chance to review the

25      evidence and see where we are and what motions they think
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 1      would be needed in these or other proceedings.

 2                   Now let's turn to Mr. Harkrider's motions.

 3      Ms. West, Mr. Harkrider was indicted on these felonies and

 4      misdemeanors.    He's had a bond hearing before the magistrate

 5      judge.

 6                   And in reviewing the materials, it's evident to me

 7      the issue is really Magistrate Judge Mitchell's orders and

 8      the de novo review and to see whether or not there is a

 9      danger to individuals or to the community if he's released.

10      I do not think the Government's raised any issue as to

11      flight, despite Judge Mitchell finding flight was a concern.

12      I don't see any record to support that.

13                   So we want to focus on the dangerousness and the

14      evidence we have as to that.       As I said, I've reviewed the

15      materials that have been supplied to the Court.          I've read

16      the briefs.

17                   And I'll hear from the Government if it wants to

18      put its evidence again before the Court or at least draw the

19      Court's attention to certain evidence.        I've read through

20      the cases.    A lot of them are from other judges who ruled in

21      these cases.

22                   And most recently, Judge Lamberth -- I believe it

23      was yesterday -- guardedly, because he reversed Judge Bates

24      in his most recent opinion, and they both worked together

25      and both ran the US Attorney's Office here in DC.          He did
     Case 1:21-cr-00117-TFH Document 44 Filed 08/09/21 Page 15 of 107         15


 1      not take Judge Bates's position kindly.         But it's a new case

 2      that is very interesting.      It's Fairlamb, F-A-I-R-L-A-M-B.

 3      It's No. 120, Scott Fairlamb, US versus Scott Fairlamb.          The

 4      decision was issued yesterday.       I don't have a cite to it

 5      directly.

 6                  And in it, he takes the position that Munchel

 7      actually encourages him to hold people without bond who are

 8      assaulting a police officer, basically.         It's different

 9      than, as I referred to, Judge Bates's opinion and several

10      other judges who have written on this area.

11                  So I'll start with the Government and see where

12      they want to go as to Mr. Harkrider's situation and we'll

13      take it from there.

14                  MS. KEIL:    Yes, your Honor.

15                  And the Government -- if the Court has reviewed

16      the material -- the Government was intending to share some

17      clips of the video just to draw the Court's attention, if

18      the Court would like.      But if the Court has already reviewed

19      that, I can just proffer --

20                  THE COURT:   I had a couple questions.       Let me look

21      at my notes on this.

22                  At certain parts of the video, there are some

23      portions that relate to Mr. Harkrider that I have seen.          He

24      can be identified in front of the crowd, trying to get

25      through this tunnel.     I can see that.     And he's pushing or
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 1      being pushed.    It's hard to tell whether he's motioning for

 2      the crowd to keep coming and pushing or whatever, with his

 3      hands raised.    There was some issue raised at the bond

 4      hearing about that.

 5                  One thing I do need a little focus on is I don't

 6      quite follow the passing of the small canister of spray

 7      forward to other rioters or people who are assaulting police

 8      officers.    You can see them in the front there.        But I need

 9      to see that a little more clearly as to exactly what is

10      happening there.

11                  And then I did review and saw where he appears in

12      front of the awning or window with Mr. Nichols.          And

13      Mr. Nichols is making these very disturbing statements

14      through a bullhorn, holding some type of bar or something.

15      And Mr. Harkrider is crouched in the front, where apparently

16      the tomahawk is visible.      And then Mr. Harkrider appears

17      through a window a few seconds later, about a minute and a

18      half later or two minutes later, shouting at the crowd.         And

19      I can't hear what he says or anything.        And he makes various

20      gestures using his arms and then one gesture across his

21      throat.

22                  That's the notes I have of what I saw as to

23      Mr. Harkrider submitted by the Government.

24                  MS. KEIL:   Yes, your Honor.

25                  If the Court would like, I'll share my screen to
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 1      focus on the Court's questions.       We'll skip the first part

 2      there.   I'll mark this as Exhibit 1.

 3                   What I would draw the Court's attention to -- I'm

 4      going to start this at 54 minutes and 11 seconds in.            I want

 5      to -- I'm going to pause it right there, because the

 6      Court -- if the Court can see towards the bottom of the

 7      middle of the screen, you'll see who we believe is Defendant

 8      Harkrider.    He has the hat, the Texas hat on, and the

 9      khaki-colored coat.     He's actually pushing towards the front

10      at this point.    It's not as crowded as it is later in this

11      video.   But he's actually walking up towards the tunnel.

12      There's plenty of space.

13                   As the Court can continue to watch, you'll see

14      people actually walking back down the steps.         But in this

15      case, the Defendant Harkrider is continuing to push forward.

16                   I'll pause it at 54 minutes, 31 seconds.       And I

17      point that out because that is prior to all of the other

18      incidents that the Government points to.         At this point,

19      again, he's voluntarily walking up.        He's not being pushed;

20      he's not being forced.      He's sort of walking up into this

21      crowd.

22                   And then if I can go down to 58 minutes, 42

23      seconds, I'll pause it here at 58 minutes and 58 seconds.

24                   At this point, you could hear the crowd had been

25      chanting, "Fight for Trump."       In the sort of -- just to the
     Case 1:21-cr-00117-TFH Document 44 Filed 08/09/21 Page 18 of 107       18


 1      middle of the screen, to the right you will see Defendant

 2      Harkrider with the hat and the jacket.        At this point, he's

 3      with the group.     He's about four people deep from the front

 4      of what appears to be the front of the line there and is

 5      assisting with pushing forward with the group.

 6                 I'll pause it there at 59 minutes and 19 seconds.

 7      And I wanted to then go to the area where the canister --

 8      where you can see Defendant Harkrider with the canister.

 9      It's about one hour and four minutes.

10                 I would say at that point, your Honor, at one hour

11      four minutes and eight seconds towards the bottom right of

12      the screen, you can see Defendant Harkrider.         And that's

13      where the canister first -- I think you can first see what's

14      happening there.     It seems either someone is passing it to

15      him.   The Government admits it's not clear what's happening

16      right there.    But I will continue to play it.

17                 And then the Court can see at that point, he picks

18      up the canister and is pushing it towards the front of the

19      crowd.

20                 Then the Court will note at one hour, four

21      minutes, 32 seconds, when it pans back down, it's no longer

22      in his hand.

23                 The Government argues at this point there's a

24      reasonable inference that in the way he was holding it and

25      kind of gesturing with it that he was trying to get
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 1      someone's attention to pass it up to the front.

 2                 The Government would also note that -- would ask

 3      the Court to look at what's happening at the tunnel here.

 4      There's continuing to be people pushing in and they're using

 5      objects.   They're pushing into the tunnel and they're

 6      continuing to push towards law enforcement.

 7                 The Government will stop it there at one hour,

 8      four minutes and 42 seconds.

 9                 I'm going to draw the Court's attention now to --

10      I think the Court mentioned this already, but at one hour

11      and 12 minutes.     I would note all during this, the Defendant

12      has not left.    He clearly at this point has now made his way

13      here up to the balcony in front of one of the windows there

14      at the lower West Terrace.      He was able to make his way up

15      there.

16                 He did not try to leave.       He did not try to

17      extricate himself from this situation, despite the fact that

18      there was violence going on around him.         Clearly, there were

19      altercations happening between law enforcement and some of

20      the other people that were on the lower West Terrace.           So I

21      will just -- the Court can see here at one hour, 12 minutes

22      seven seconds.

23                 And as the Court noted, you can visibly see

24      Defendant Harkrider standing up there with his Co-Defendant

25      Nichols; and the handle of the tomahawk that was later
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 1      recovered you can see just inside of his jacket there.

 2                   And I'll stop it there, one hour, 12 minutes, 44

 3      seconds.

 4                   And as the Court noted earlier at the one hour,

 5      18-minute mark, at this point, you can see, your Honor, that

 6      there's clearly law enforcement coming out of the tunnel.

 7      They're trying to maintain order, trying to hold the line.

 8                   I will note here at one hour, 18 minutes and 32

 9      seconds, in that broken window -- on the right side of the

10      window there, Defendant Harkrider comes to the window.

11                   At this point, Defendant Harkrider is cheering the

12      crowd on with a fist raised.       It sounds like they're singing

13      a song out on the balcony.      He's continuing to cheer them

14      on.

15                   At one minute -- at one hour, 18 minutes and about

16      43 seconds, this is where -- the Government would argue

17      that's where the throat-slashing motion is made towards the

18      crowd.   Again, he's cheering on the crowd.        He's egging on

19      the crowd.    At this point, he's actually inside the Capitol.

20      He's entered through one of those broken windows.          After

21      that, he goes back into the Capitol.

22                   I believe on this video -- it appears a few

23      minutes later -- he does leave the Capitol, the inside, and

24      he goes back out onto the terrace.

25                   I will stop sharing my screen at this point.
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 1                   So the Court can see the Defendant's actions that

 2      day.   I know that in the preliminary hearing this video was

 3      played at the time.     I know the defense may have mentioned

 4      it and possibly the original judge only saw the still shots.

 5      But I think the transcripts indicate that she did see at

 6      least, I think, this portion of the video.

 7                   Consistent with what a lot of the judges are

 8      focusing on and the various factors, the thing the

 9      Government would like to talk about is the dangerousness

10      aspect here and the circumstances of this particular

11      Defendant.

12                   The Court has seen what the Defendant did on that

13      day.   And on that day, he took an active role as a

14      participant.    He was helping, encouraging people to go into

15      the Capitol.    He went into the Capitol.       He stayed in the

16      Capitol for at least several minutes.        And when he left the

17      Capitol, he was in no hurry to leave.

18                   But it's not all he did on that day.       As we know,

19      that's not necessarily enough.       In this case, Defendant

20      Harkrider, along with his Co-Defendant, planned for several

21      days at least before this incident.

22                   The Government noted in its opposition several

23      text messages that were exchanged between Defendant

24      Harkrider and Co-Defendant Nichols.        It's not a spontaneous

25      situation where they went to the rally to just support the
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 1      president and got caught up.       They planned on bringing

 2      weapons; they planned on engaging in a situation where there

 3      could be violence.

 4                   Defendant Harkrider later on admitted to law

 5      enforcement that he actually brought weapons to the DC area.

 6      There's no allegation he brought the firearms to the

 7      Capitol, but he did in fact admit to bringing firearms to

 8      the area.

 9                   And they brought -- as the Court can see in the

10      videos, there was the plate carriers.        They had the weapons

11      with them.    They are dressed, prepared, for any type of

12      altercation.    They knew there could be altercations with law

13      enforcement and chose to go anyway.

14                   And not just altercations, but as the Government

15      pointed out on the January 3rd text messages, Co-Defendant

16      Nichols stated:     There's a big possibility that actual

17      battle goes down.

18                   And Defendant Harkrider said:      I'm looking forward

19      to it.

20                   He did not shy away.    He did not say:     If needed.

21      He did not say:     Let's hope it doesn't get to that point.

22      He did not say:     I'm only there for a peaceful protest.

23      Instead, he said:     I'm looking forward to it.

24                   And not only that; as we go further down those

25      text messages, he says:      I'll bring every freedom blaster
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 1      and continues to ask questions about stopping in Kentucky

 2      for plate carriers.     He's an active participant in these

 3      plans and he's taking steps to arm himself, frankly, when

 4      he --

 5                 THE COURT:    Ms. Keil, Munchel, which is the only

 6      opinion from this circuit involving these types of

 7      defendants in these cases, Munchel said pretty clearly that

 8      those who aided, conspired with, planned or coordinated such

 9      actions are in a different category of dangerousness.           So

10      that's what you're talking about.

11                 However, if you go on in that opinion:         The

12      coordination would have to involve more than two

13      Co-Defendants, it seems to me.       The Circuit there found the

14      two Munchel Defendants, who traveled together with tactical

15      gear and weapons, talked about coming and looking for

16      trouble, were not involved in planning and coordinating the

17      activities.

18                 Is there a separate category of people who planned

19      to come attack antifa or attack Black Lives Matter people or

20      harass the police or for whatever reasons they had, as

21      opposed to those who said:      We're going to attack the

22      Capitol and stop the certification?

23                 MS. KEIL:    Well, the Government concedes that at

24      this point the planning and the coordination that took place

25      was between the Co-Defendants in this case.
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 1                  The Government does point out, however, they did

 2      not only go to the Capitol on January 6th.         They did go the

 3      night before, on January 5th.       And the Court, I believe, has

 4      the videos of them engaging with other groups down on the

 5      Black Lives Matter Plaza and potential law enforcement down

 6      there and confronting them and looking for, you know, some

 7      type of altercation of some kind.

 8                  THE COURT:   I did read that.     I have not looked at

 9      those particular videos.      I did read the evidence presented

10      that they had gone the night before to Black Lives Matter

11      Plaza attempting to provoke individuals, apparently, to get

12      into some type of confrontation with either the Black Lives

13      Matter people or the police.        I did not see the videos.

14                  MS. KEIL:    I can --

15                  THE COURT:   Doesn't that go to the extent, though,

16      that they're armed and were looking for a battle with people

17      they disagreed with on the political range as opposed to

18      going to stop the actions of Congress in certifying the

19      election?

20                  MS. KEIL:    Your Honor, I think it goes to show

21      both, frankly.    It goes to show that they were there to

22      promote their, you know, theory of what happened, that the

23      election was stolen and they were looking to engage with

24      anyone who thought otherwise.       And that includes -- whether

25      that was civilians or law enforcement or Congress, who was
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 1      certifying the election.

 2                   So I think it goes to the fact that they were

 3      angry about what happened.      They felt the election had been

 4      stolen.   And they were going down to do whatever they needed

 5      to do.

 6                   And I point that out because it was after January

 7      6th, there was still discussion about that, as the Court

 8      probably noted in the Government's opposition.          There were

 9      again additional text messages and Facebook posts that

10      basically stated, you know:       This isn't over; I stand with

11      the patriots; and things of that nature.

12                   And that's where the Government's main concern is

13      here, that there was planning in advance to do something,

14      anything, wherever they could find it.        They were looking to

15      challenge what was happening.

16                   And after January 6th, that wasn't succeeding the

17      way they wanted it to, at least not on that day.          Or maybe

18      it succeed enough the way they wanted it to that it

19      encouraged them to continue with that train of thought.         And

20      that's what goes to show that this was not a situation where

21      Defendant Harkrider went back to Texas and said:          Wow, that

22      was crazy.    I made a big mistake.

23                   As the Court could see in the text messages, he's

24      joking about, you know, being your favorite domestic

25      terrorist.    There was joking about hiding out at his
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 1      mother's house.     These are not words of someone who is

 2      remorseful about what happened.       They're making jokes and

 3      talking about, you know, continuing to stand with the

 4      patriots.

 5                  So the Government's concern here is that he is a

 6      danger to the community.      He continues to be a danger to the

 7      community for these exact reasons.

 8                  THE COURT:   I recognize those subsequent posts

 9      that he made after January 6th, talking about "This is only

10      the beginning."     It sort of indicates at some future

11      violence.

12                  And he made some posts while he was in the

13      Capitol, apparently, that are also rather bothersome.           He

14      said, "We're in.     Two people killed already.      We need all

15      the patriots of this country to rally the F up and fight for

16      our freedom or it's gone forever.        Give us liberty or give

17      us death.    We won't stand for it."

18                  That's a concern.

19                  MS. KEIL:    Yes, your Honor.

20                  THE COURT:   All right.    Let me talk with his

21      counsel.    And certainly I can hear from him as well, but

22      I'll hear from Ms. West as to her concerns about his status

23      on bond or not in light of what we just reviewed.

24                  MS. WEST:    Yes, your Honor.    Thank you.

25                  What I'd like to do, your Honor, is start with
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 1      what the Government points out in the video and how I have a

 2      different view, of course, than what the Government does.

 3                 You had a question about certain parts of the

 4      video.   The Government says that he has been pushing or is

 5      being pushed.    "It's hard to say" is what you said.

 6                 We say that there's no pushing at all.         There's

 7      absolutely no video evidence of him pushing towards the

 8      front.   There's evidence in the video, however, of him being

 9      pushed by the crowd.     Even if Mr. Harkrider wanted to leave

10      that scene, it would have been virtually impossible unless

11      he would have been catapulted above the crowd and carried

12      out.   It was impossible to get away.

13                 THE COURT:    Let me just ask you, he did leave and

14      go up to the window.

15                 MS. WEST:    And he had to go out a different way

16      because of the crowd.      That's correct.

17                 THE COURT:    In the beginning, at least according

18      to the Government, it was not crowded at that point --

19                 MS. WEST:    Oh, there's --

20                 THE COURT:    -- when he went up to the tunnel.

21                 MS. WEST:    Oh, that's incorrect, your Honor.

22      There are thousands and -- if not ten thousand people there

23      at that time.

24                 THE COURT:    It may have been thousands; I don't

25      know about ten thousand.      But the first part of the video
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 1      wasn't -- it looked like it was not shoulder-to-shoulder

 2      quite at that point.

 3                 But go ahead.

 4                 MS. WEST:    I don't believe there's any evidence,

 5      your Honor, that he's motioning to the crowd.          There is

 6      no -- if you motion to a crowd, you don't hold your hand

 7      like this; you go like this (indicating).         And for the

 8      record, I'm moving -- waving my arms around.         That's a

 9      motion to the crowd.     There's absolutely none of that.

10                 And I think if the Court watched the whole video,

11      you can see that it is hard to tell.        There was teargas

12      sprayed, it looks like, from that window.         I don't know if

13      somebody in the crowd sprayed teargas.

14                 That, I think, is one of the interesting aspects

15      of the video, because in the video showing Mr. Harkrider in

16      the window, it's the window next to -- I guess "tunnel" is a

17      better word -- where all the violence is going on.

18      Mr. Harkrider doesn't ever go over to that window.

19      Mr. Harkrider doesn't ever motion to anybody in that window.

20      He doesn't have any instruments, flags or poles or hand

21      anything to any of those people.

22                 The Government is simply saying that he had this

23      canister and -- you can't even see that Mr. Harkrider turned

24      around to know what it is.      It hits him in the behind and he

25      passes it ahead of him.      I can't tell from the video that
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 1      he's even acknowledging what it was.

 2                   I do concede, your Honor, that he is in the window

 3      shouting at the crowd and does make a gesture.          We don't

 4      know what he said.       But that certainly doesn't mean he's

 5      dangerous.

 6                   THE COURT:    How do I read that in light of his

 7      patriot comment he posted on Snapchat, with the caption

 8      earlier?

 9                   MS. WEST:    Well, your Honor, I don't know where

10      that came from.     I received no metadata from that.       I don't

11      know where that caption came from.

12                   If you read the transcript of the detention

13      hearing, the FBI agent would say:        Yeah.   Here's something.

14      I don't know where we got it.       And then some task force

15      officer from Dallas:      Yeah.   He got this, but we don't know

16      where he got it.

17                   So we're still waiting to see, your Honor, if

18      that's something that he posted.       But let's say, for

19      example, that he did.      That doesn't portend that there's

20      going to be future dangerousness in this case.          There is

21      absolutely not one iota of evidence that he is attempting to

22      provoke others.     I just don't see it in this video.

23                   THE COURT:    You see in the video him passing this

24      canister; at least handling it.       And then at some point, he

25      has this canister and the Government [indiscernible] spray.
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 1      And if he passes that, it would facilitate others to spray

 2      the officers fighting a few feet away from him with the

 3      people trying to get in.      I mean, it's very clear he had a

 4      big canister in his hand.

 5                  MS. WEST:   I agree with the Court that it's very

 6      clear that he has a big canister in his hand.          But I've

 7      watched that video several times.        He doesn't know what's

 8      behind him and what's being held.        He just is pushing things

 9      forward.

10                  And it's unknown, your Honor, where that came

11      from, where it was going.

12                  If I might, your Honor, liberty is the norm in

13      America.    There is no presumption for detention under the

14      statute.    Pretrial services in Texas recommended his

15      release.    I have not received a pretrial report from

16      pretrial in DC.

17                  I have -- the Government's alleged that he's

18      suicidal.    That's preposterous.     There's no medical records

19      that indicate this.     He's a wonderful father.       He pays child

20      support.    He has one prior DWI more than ten years ago.

21                  And I was an AUSA in Texas.      I was a defense

22      lawyer in San Antonio.      So you know Royce Lamberth has got

23      to be my favorite judge.      I'm sorry, but one DWI in Texas is

24      not a significant criminal history.

25                  What's really fascinating to me about what
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 1      Mr. Harkrider has done with his situation, being a veteran

 2      and suffering PTSD, which is really tragic, he's taken his

 3      bad situation and turned it into a positive.         He doesn't

 4      drink anymore; he's volunteering for Save America.          I hope

 5      the Court got the photographs I submitted as exhibits of

 6      their rescue missions.      He's taken his bad situation and

 7      turned it into something positive.

 8                 And I think that that will give the Court plenty

 9      of information to show what his perseverance is and how

10      he'll behave if the Court gives him a bond.

11                 THE COURT:    You raised this issue that his

12      suicidal tendency did not -- and suicide by cop.          It wasn't

13      clear to me.    That was some statement he made to the police

14      when he was arrested?

15                 MS. WEST:    Yes, sir.    Not when he was arrested,

16      but -- and, of course, this is how the Government goes.           I

17      don't have a copy of his recorded statement.         The Government

18      has been very good about getting us discovery.          I have the

19      FBI report, but I do not have, your Honor, the video or the

20      audio.   And after they turned the video off, the FBI agent

21      reports that Mr. Harkrider said, "I wish they'd have shot me

22      at the door."

23                 Now, that was said, if it was said, in jest.           He

24      did not mean to say that he wanted to be shot.

25                 And in fact, in this five-page FBI 302 that I have
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 1      that outlines his statement to the FBI, he is completely

 2      honest.   They asked him what he did.       He tells them step by

 3      step.

 4                 When they come to his house, he says:           Oh, you

 5      want to know -- they ask about a baton.         He said:    There's

 6      not a baton.    I had a tomahawk.     And he leads them to right

 7      where it is, shows them what it is.        He gives them

 8      everything.    He never tried to hide his cellphone; he never

 9      tried to hide his computer.

10                 This poppycock that he was hiding out with his

11      mother, that was a joke.      And also about him saying he was a

12      domestic terrorist:     also a joke.

13                 This Court might remember, after this happened,

14      every news media outlet in America called every single

15      person at that Capitol a domestic terrorist.         It became a

16      joke between Mr. Harkrider and his friends.

17                 I have his mother available to testify today, if

18      the Court is concerned about those two issues.

19                 I also have his Marine friend, John Anderson, who

20      I hope the Court -- I had trouble filing some of the letters

21      under seal.    I hope that you got all of those many, many,

22      many letters from the community, people who love Alex,

23      respect him and know what a good, solid character he is.

24                 I think that this Court is -- you hit --

25                 THE COURT:    Let's look at the facts a little bit
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 1      more.   I recognize his background and his service to the

 2      country and his posttraumatic stress syndrome analysis and

 3      problem and his disability.       Let's look.

 4                  He took this tomahawk, which -- you said he

 5      researched it and it was a legal weapon.         I don't know the

 6      rights or wrongs of that.      But it's still a dangerous

 7      weapon.    That's what the statutes conclude, whether it's

 8      legal or not.

 9                  He took it with him into the Capitol.        He did not

10      as far as we know take it out of the sheath or actively use

11      it or wave it; but he had that with him, a dangerous weapon.

12      He had two weapons, a pistol and a rifle, with him in the

13      car or Mr. Nichols's car, I guess, that he brought with him

14      to the Capitol, two weapons, serious weapons.

15                  I don't know if the police [indiscernible] or not.

16      I don't know what they've done about that.         But it's

17      concerning to me that he would come to the District of

18      Columbia to protest, as he had an absolute right to do,

19      peacefully; and yet he comes with two guns and his tomahawk.

20                  MS. WEST:   I totally understand the Court's

21      concern.

22                  And the thing the Court said in Munchel is that

23      you have to look at the circumstances surrounding

24      everything.    And that's exactly what this Court is doing by

25      saying he'd never been to [indiscernible] before.
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 1                  You have to understand that to a native Texan, the

 2      two most important things to that person are their weapon

 3      and their dog.    He had heard on the news that -- and we'd

 4      seen for months leading up to this January 6th horrible

 5      demonstrations, violence in the streets of DC.          And many

 6      news organizations said that that was Black Lives Matter and

 7      antifa.

 8                  And in that five-page FBI 302 that I just

 9      mentioned, that's exactly what Mr. Harkrider tells the

10      agent:    I was afraid for my life.      I was afraid Black Lives

11      Matter and antifa was going to be there.         And I wanted to

12      protect myself.

13                  But what Mr. Harkrider did was amazing.        And I

14      don't have this to show the Court, because the Government

15      hasn't given it to me.      He Googled everything he could to

16      make sure what was legal to do in DC.

17                  And you know what?     He couldn't carry a gun in DC,

18      so they stayed at a hotel in Virginia.        They tried to follow

19      the law.   And he Googled what kind of knife you could have

20      in DC.    And I put the DC Code in my brief last night,

21      because it shows that as long as the blade is 3 inches or

22      less, it's legal to have in DC.

23                  Now, Mr. Harkrider's not a lawyer.       He doesn't

24      know that a tomahawk is not a knife.        But if it had 3 inches

25      or less, he thought that that was legal to have.
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 1                   And as the Court accurately points out, he never

 2      took it out of its sheath.      He never showed it to anybody.

 3      And he did the responsible thing:        He left the firearms in

 4      his truck.

 5                   So that's the only explanation.      And I understand

 6      the Court's concern about that.       But obviously, there was

 7      all kinds of violence all around Mr. Harkrider; and he never

 8      one time took that thing out of its sheath.

 9                   I think -- does that answer the Court's question?

10                   THE COURT:    Yes, it does.

11                   I know he didn't use it.      It is concerning to come

12      to a rally and bring guns, et cetera.        I recognize they were

13      trying to make sure that they were legal.         You know, you

14      have to understand, when you go into a government building,

15      whatever it is, you don't walk in with tomahawks.

16                   MS. WEST:    I agree with the Court.    I think under

17      the statute that would be considered a dangerous weapon.

18                   Finally, your Honor, I think that Munchel requires

19      you to ask yourself:      What is it that you should be afraid

20      that Mr. Harkrider will do if he's released?         Is there going

21      to be another riot?       What clear and convincing evidence?

22                   THE COURT:    Well, I saw in your reply brief you

23      said [indiscernible] followed the orders of the commander in

24      chief and that there's no evidence anything else had

25      happened.
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 1                   That actually concerns me, because Mr. Trump is

 2      still very active, very public in his expressions of his

 3      unhappiness about the election.       He still claims it was

 4      fraud and that the election was stolen from him.          And it's

 5      not beyond the imagination that he's going to try to be

 6      president again and he's going to have rallies and he's

 7      going to claim people are cheating him and the government is

 8      against him and he wants people to do something about it, as

 9      he said before when this happened.

10                   And it's fair to consider that.      I mean, if he

11      thinks he has to follow what Mr. Trump says --

12                   MS. WEST:    Well --

13                   THE COURT:   -- I've got to tell you, even though

14      you're saying he's a fine guy and they say he's a great

15      believer in the Constitution, he's a great patriot, well,

16      that doesn't give you the right to attack Congress

17      violently.

18                   MS. WEST:    I don't disagree with what the Court

19      just said, with this exception:       Donald Trump left all of

20      his people in the wind.      He said:    Let's to the Capitol.

21      And I don't know where he went, but he wasn't with them.

22      And --

23                   THE COURT:   He did say he'd be there with them.

24                   MS. WEST:    He did.

25                   And guess what?   When you do that to a native
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 1      Texan, you are off the list.       Done.

 2                   So I don't believe that Mr. Harkrider would have

 3      anything to do with that, if that's the Court's concern.

 4                   I have --

 5                   THE COURT:   You do have the post later, "This is

 6      only the beginning," where he said that subsequent to the

 7      January 6th events, which militates somewhat against your

 8      statement, that he keeps saying "It's only the beginning."

 9      It seems like he's ready to go back out again.

10                   MS. WEST:    Well, if he was, he didn't do it.      He

11      didn't do it between January 7th and January the 18th, your

12      Honor.   He went on about his life and did what he'd always

13      done.    He didn't engage in any communications with anybody

14      other than Mr. -- his Co-Defendant.

15                   I'm not going to outline the six factors of

16      Chrestman.    I did that, your Honor.

17                   THE COURT:   Let me ask a couple questions on his

18      situation.

19                   I read that he has been prescribed medications for

20      his emotional issues, but he does not take them.          He's

21      self-treating himself with holistic measures, that he is

22      growing peppers or something instead of taking his

23      medicines.    And is he under a doctor's care?       Has he been

24      going to the Veterans Administration for care and treatment?

25                   MS. WEST:    Yes, your Honor.   I'm unfamiliar with
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 1      the peppers.

 2                 THE COURT:    It's in the materials.      Perhaps it was

 3      in his earlier materials I read.       But in any event, his

 4      mother, I think, said that he's not taking his medicine.

 5      He's trying to treat himself.       I think that came from his

 6      mother.

 7                 MS. WEST:    And she's here to testify; and we can

 8      ask that exact question to her, your Honor.

 9                 The medication affected him such that he was off

10      [indiscernible] and didn't do well.        He went to the VA.     He

11      spoke to his doctor.     He said he could go off it gradually.

12      He did that.

13                 And he's into physical fitness and feels a natural

14      diet of good food has helped him a great deal.

15                 And I think that she's here, your Honor, if you

16      want to talk to her.     But he is under the care of the VA.

17                 THE COURT:    The issue really as to dangerousness I

18      think as to his statements taken in conjunction with the

19      pepper spray is the key thing.

20                 The carrying of the tomahawk:        In Munchel, the

21      Court ordered the release of those individuals.          The Court

22      remanded the other two [indiscernible] to the Chief Judge.

23      But in Munchel, in one of those he had a holstered Taser,

24      and that wasn't apparently considered a factor, unless I

25      guess they could show use.
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 1                   MS. WEST:    Well, they also had zip ties, your

 2      Honor, that people were using -- were going to use to tie up

 3      the police.    That was the allegation.

 4                   And so I think you hit the nail on the head when

 5      you said that there's just two people.        And that's why I put

 6      that in the brief.       We're not talking about communication

 7      with your Co-Defendant; we're talking about communication

 8      with the Oath Keepers or the Proud Boys.         Those are the kind

 9      of concerns that Chief Judge Howell had.         It's also the

10      concern of the Court of Appeals.

11                   And the Court of Appeals says that the fact-finder

12      has to find a concrete prospective danger that can be

13      articulated and identified without -- if you don't let him

14      out on a bond.    And I think that's why Judge Katsas was so

15      adamant about -- as he said, We're not going to do a, quote,

16      "do-over."    And I think that, your Honor, is why.

17                   With the Court's permission, I'd ask to call the

18      two witnesses that I have available today.

19                   THE COURT:    Just briefly.

20                   MS. WEST:    Sure.

21                   If Mr. Smith would let Donna Cox in.

22                   THE COURTROOM DEPUTY:    Ms. Cox, are you able to

23      hear loud and clear?

24                   She's still connecting to the audio.       Stand by.

25                   MS. WEST:    While we're waiting, your Honor, I just
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 1      wanted to let the Court know that before you got on the

 2      bench, Mr. Smith was kind enough to put me in a separate

 3      room; and I spoke with Mr. Harkrider and explained the

 4      processes of today's hearing and then I came back on.

 5                    THE COURT:    Thank you.

 6                    (Ms. Cox joins the proceedings.)

 7                    THE COURTROOM DEPUTY:      Good afternoon, Ms. Cox.

 8      You're able to hear loud and clear?

 9                    THE WITNESS:    Yes.

10                      DONNA COX, DEFENSE WITNESS, SWORN.

11                    THE WITNESS:    Yes, I do.

12                                 DIRECT EXAMINATION

13      BY MS. WEST:

14      Q.   Good afternoon, Ms. Cox.

15      A.   Hello.

16      Q.   Are you the mother of Alex Harkrider?

17      A.   Yeah.

18      Q.   And have you ever testified before?

19      A.   No.

20      Q.   If you could, please, could you describe to the Court

21      how Alex is handling his PTSD.

22      A.   Yes.    He tries to involve himself in activities because

23      the medication he does takes away his personality.          And he

24      farms peppers.     He has about 50 different kind of peppers

25      he's trying to raise.        He's planning on getting this



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 1      medication out of that.

 2                    He goes on trips with his dog.     Obie is his

 3      Doberman.     He's a service dog.    And he does rescues.       He

 4      loves to go on rescues with his rescue group, Rescue the

 5      Universe.     He's rescued many people from floods and

 6      tornadoes and flooded buildings.

 7                    And sometimes, you know, he gets off -- he likes

 8      to go by himself and just handle it.        He said sometimes he

 9      just needs to get away a few days and not talk to anybody.

10      And he prefers that over the medication.         And it seems to

11      work.

12      Q.   Okay.    And how have you found him in the last couple of

13      years since that time?

14      A.   He's improved a lot.     You know, he's a homeowner.        He

15      works in the yard.     He does things with his son and me.

16      Q.   Let me ask you, did you talk to Alex before he came to

17      Washington, DC, on January the 6th?

18      A.   Well, not about that.

19      Q.   Okay.    Did you talk to him about his trip here?

20      A.   Today?

21      Q.   No.    Before January 6th, did you speak to him?

22      A.   I mean, we mentioned it a little bit, talked a little

23      bit about it, but not -- I didn't know the details or he

24      didn't really -- we didn't really talk about it in depth.

25      We just talked about what was going on.



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 1      Q.   Specifically, what did he -- what, if anything, did he

 2      tell you about his expectations of Black Lives Matter?

 3      A.   Oh, he was -- that's the only thing he was worried

 4      about.   He felt like it was going to be a peaceful protest,

 5      but then he told me he felt like they needed protection from

 6      Black Lives Matter and antifa, that they'd been told that

 7      they may show up and that there had been, you know, attacks

 8      and burning buildings in the news and things like that.

 9      Q.   If the Court gave bond to Mr. Harkrider, your son, would

10      you be able to be a third-party custodian or make sure that

11      Alex followed the Court's instructions?

12      A.   Yes.   I sure would.

13                  MS. WEST:     Thank you, Ms. Cox.

14                  Pass the witness.

15                  THE COURT:     Government, any questions?

16                  MS. ROSBOROUGH:     Yes.   Thank you, your Honor.

17                                CROSS-EXAMINATION

18      BY MR. ROSBOROUGH:

19      Q.   Hello, Ms. Cox.      My name is Danielle Rosborough.       I am

20      one of the prosecutors.      Thank you for being here today.

21                  You love your son very much.      Right?

22      A.   Very much.    Yes.

23      Q.   And it sounds like you were not aware of the details of

24      his travel to the Capitol on January 5th and 6th.          Is that

25      correct?



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 1      A.   Correct, other than he wanted to go and be a part of

 2      the, you know, peaceful protest.

 3      Q.   Understood.

 4                    And did he call this a peaceful protest or are

 5      those your words now?

 6      A.   I really don't remember.      We didn't have deep

 7      conversations about it.      We just kind of discussed it a

 8      little, talked about it a little.

 9      Q.   And I think you said that he had been told that there

10      might be counter-protesters there.        Do you know by whom?

11      A.   I don't know.

12      Q.   And --

13      A.   It was all over the media.

14      Q.   And I understand that, you know, your son served his

15      country, and we're all grateful for that, but that he

16      suffers from some mental health and struggles with PTSD.         Is

17      that correct?

18      A.   PTSD.    Yes.

19      Q.   And I understand from you that he stopped taking his

20      prescribed medication.      Correct?

21      A.   Right.    Last year.

22      Q.   And were you aware that he and his Co-Defendant had

23      engaged in conversations about using illegal drugs,

24      including LSD, ketamine and marijuana?

25      A.   No.   I don't believe that Alex would -- he's never



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 1      wanted to use drugs.      We've had conversations about that.    I

 2      don't believe he has ever done that.

 3      Q.    So you were not aware of the messages between him and --

 4      A.    Not about illegal drugs.     No.   I don't believe there

 5      were any about that, about him doing that.

 6      Q.    So to your knowledge, you haven't seen that?

 7      A.    Right.

 8      Q.    And, Ms. Cox, I wanted to ask you about the day of

 9      January 6th, when you saw when this happened, the attack on

10      the Capitol.

11                     Is it correct that you engaged in a series of text

12      messages with your son?

13      A.    I don't really remember that.      I wasn't watching that on

14      TV.   I was working.     I really don't remember that.

15                     MS. ROSBOROUGH:   Your Honor, I'm going to try and

16      either share my screen or -- let's see if this will work.

17      BY MS. ROSBOROUGH:

18      Q.    Do you remember texting your son on January 6th, saying,

19      "I'm at the hair salon, but let me know you're okay.

20      Darlene said Rhett is keeping up with you on Snapchat"?

21      A.    Sort of.    I sort of remember that.    Rhett is my nephew.

22      Q.    I'm sorry.    What was that?

23      A.    I said Rhett is my nephew.

24      Q.    Okay.    And when you say Rhett was "keeping up with you

25      on Snapchat," did you mean that Mr. Harkrider had been



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 1      sending messages on the 6th from Snapchat?

 2      A.   Honestly, I don't.     I just know Rhett and Alex are on

 3      Snapchat together.     They see each other on Snapchat.

 4                    But I don't remember that.     I didn't know about

 5      anything on Snapchat.      Whether he saw him, I don't know.

 6      But I didn't know -- I don't know what he was showing on

 7      Snapchat.

 8      Q.   But you understood that Rhett, your nephew, was

 9      following Alex on Snapchat.       Correct?

10      A.   Right.    Yeah.   They're friends on Snapchat.

11      Q.   Thank you.

12                    And then do you recall Alex texting back and

13      stating, "We're in the building," to which you responded,

14      "OMG.   Don't get arrested" and he responded, "It's a

15      revolution now"?

16      A.   I don't remember that.     But that sounds like something

17      he joked about.     Alex has a lot of humor that he does.       And

18      I'll go along with him sometimes, thinking -- if I said

19      that, I thought he was joking.       I don't remember saying

20      that.

21      Q.   Okay.    So you think his comment after you responded to a

22      series of text messages on a group chat that included things

23      like "You need to get out," [indiscernible], "Let me know

24      you are okay; someone's been shot," and his response is,

25      "It's a revolution now," you took that to be in jest?



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 1      A.     I don't remember that.    I'm sorry.

 2                    MS. WEST:    Your Honor, at this time I'd object.

 3      This isn't really proper refreshing of recollection.            I

 4      realize with Zoom it's difficult.        But properly, she should

 5      be shown a document, letting her reading it and saying:

 6      Does that now refresh your recollection?         As opposed to

 7      reading what it is.

 8                    THE COURT:   All right.   I understand.

 9                    Because it's a bond hearing, the Rules of Evidence

10      are a little bit loosened in a bond hearing.         I'm going to

11      let her do it this way.       You can redirect your questions to

12      her about it.

13                    MS. WEST:    Yes, your Honor.

14                    THE COURT:   She has the material in front of her

15      that she's quoting from.

16                    MS. ROSBOROUGH:   Thank you, your Honor.

17      BY MS. WEST:

18      Q.     And, Ms. Cox, I'd like to ask you about a few more text

19      messages later that day at 5:30 p.m. with your son.

20                    Do you recall your son calling you on January the

21      6th?

22      A.     No.   I don't recall that.

23      Q.     And if I --

24      A.     I don't remember.

25      Q.     Understood.



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 1                  If I were to tell you that there were messages

 2      between you and your son where he says he'll call you "in

 3      about ten."

 4                  And you respond, "Okay.      Really?"

 5                  He responds, "Yes."

 6                  You say, "Nice.    LOL."

 7                  And then he responds, "One guy got a letter off of

 8      the desk addressed to her.      We barricaded the doors with

 9      desks and chairs."

10                  And then you said, "Where are you all now?"

11                  Do you recall that series of text messages with

12      your son?

13      A.   Vaguely.

14      Q.   And is it correct that "LOL" stands for laughing out

15      loud?

16      A.   Yes.   I thought he was kidding if I said that.        He jokes

17      a lot.

18      Q.   And these text messages were around 5:30 p.m., so you

19      had seen the events at the Capitol that day?

20      A.   I don't watch TV.     I -- if it was on, I might have seen

21      a little bit of it.     But I wasn't sitting and watching it.

22      Q.   But on the earlier text message chain, there was a

23      discussion about someone getting shot and needing to get out

24      of the Capitol.     So certainly you --

25      A.   My sister might have told me that.       But I honestly can't



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 1      exactly remember.

 2      Q.     But certainly by 5:30 p.m., after having engaged in

 3      those text messages with your son and he spoke of

 4      barricading the doors, you had understood that there had

 5      been an attack on the Capitol.       Correct?

 6      A.     Yeah.   Well, I knew there was something going on there.

 7      Yes.

 8      Q.     Okay.   And then on the 6th, did your son return and stay

 9      with you for a few days?

10      A.     He didn't stay with me.    He lives down the road from me.

11      Q.     Okay.   So you don't know why on January 9th he would

12      have said that he was hiding out in Shreveport with his --

13      A.     I know exactly why he said that.      My daughter lives

14      there and we go there, you know, off and on to be with her;

15      and there's places over there we like to eat.          I remember

16      that exactly.      We went to Cajun Asian.    That is the

17      restaurant we like to eat at.       And he was texting with some

18      friends, Marine friends.

19      Q.     What would he have been hiding out from?

20      A.     It was a joke.

21      Q.     And what did you take that joke to mean, that he was --

22      who was he hiding out from?

23      A.     I don't know.    I can guess, but I don't know exactly.

24                     MR. ROSBOROUGH:   Your Honor, I have no further

25      questions.



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 1                  THE COURT:    Okay.   Thank you.

 2                  Ms. West, anything?

 3                  MS. WEST:    Oh, no, your Honor.     We would just call

 4      John Anderson.

 5                  THE COURT:    Thank you, Mr. Cox.     You're free to

 6      go.   Thank you.

 7                  THE WITNESS:    Thank you.

 8                  (Witness excused.)

 9                  THE COURTROOM DEPUTY:      Mr. Anderson, are you able

10      to hear loud and clear?

11                  THE WITNESS:    Yes, Mr. Smith.

12                  JOHN ANDERSON, DEFENSE WITNESS, SWORN.

13                               DIRECT EXAMINATION

14      BY MS. WEST:

15      Q.    Good afternoon, Mr. Anderson.      Please introduce yourself

16      to the Judge.

17                  THE WITNESS:    My name is John Anderson, Judge

18      Hogan.

19                  THE COURT:    Thank you.

20      BY MS. WEST:

21      Q.    What do you do for a living, sir?

22      A.    I'm an attorney in the state of Maryland.

23      Q.    And how long have you done that?

24      A.    I was licensed last June.

25      Q.    And how do you know Alex Harkrider?



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 1      A.   He and I served together in the Marine Corps between

 2      2009 to 2012, when I got out.

 3      Q.   How well do you know Alex?

 4      A.   At the time when we served together, fairly well.          It's

 5      been a few years, but we've stayed in contact.          So I'd still

 6      say I know his habits.

 7      Q.   And as a trained Marine -- you said you trained

 8      together?

 9      A.   Absolutely.    We were in the same company.       We were in

10      separate platoons, but we did multiple inter-platoon

11      operations for training and in combat operations.

12      Q.   And what are you taught as a trained Marine?

13      A.   Prepared for any situation.      It makes me a good

14      attorney.

15      Q.   Did he tell you anything -- have you spoken to him

16      recently?

17      A.   Before January, I believe, our last conversation

18      together, without anyone else involved in the chat, was

19      July.   But that's about it.

20      Q.   And you've stayed in touch with him through chats.         Does

21      that include other Marines?

22      A.   It does, yes.    Yes.

23      Q.   And did he tell you about his volunteer work?

24      A.   Absolutely.    It's kind of hard to miss, especially when

25      the organization he's with was in the news back in 2018 for



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 1      a lot of the stuff during Hurricane Florence.

 2      Q.   And knowing Alex the way you do, does he have a

 3      propensity to be violent?

 4      A.   Not at all.    In fact, I'd say the gentleman that I

 5      served with, he was one of the more docile Marines.             He kept

 6      to himself, obeyed orders, was kind and, you know, basically

 7      who you would want to be a Marine.

 8      Q.   Do you know about his later diagnosis of PTSD?

 9      A.   I am aware of that diagnosis.       Yes.

10      Q.   How has he been doing with that in the last couple of

11      years?

12      A.   From speaking with him, speaking with other Marines and

13      kind of knowing what he's been doing, it's -- he's been

14      doing well, would be my opinion.

15                   You know, my understanding is he's got several

16      hobbies that he takes care of.       I think peppers is something

17      we talked about before.      And yeah.    So he keeps himself

18      busy.    He volunteers constantly.     He continues to help

19      others, even when he doesn't have to.

20      Q.   If he was able to get a bond from this Court in this

21      case, how could you help him or assist him in making sure he

22      followed the Court's orders?

23      A.   Immediately, I am in a position to actually pick up

24      Mr. Harkrider as soon as he's released and make sure he gets

25      back home.    Or if he needs to, my wife and I are more than



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 1      ready to facilitate a night's stay or so until we get him on

 2      a bus or a train back to Texas.

 3                  And once he's home, we do have that network of

 4      Marines; and though it appears that something may have

 5      slipped through the cracks, we have Marines in Louisiana,

 6      Oklahoma, Texas even, who all served with Mr. Harkrider who

 7      would be more than willing to confirm and make sure that he

 8      does exactly what he's supposed to do.

 9                  MS. WEST:    Thank you, sir.

10                  That's it.

11                               CROSS-EXAMINATION

12      BY MS. KEIL:

13      Q.   Good evening, Mr. Anderson.      I just have a few questions

14      for you.

15                  You stated that you last sort of served and worked

16      alongside Mr. Harkrider in 2012.       Is that right?

17      A.   That is correct.    Yes.

18      Q.   And since then, you're a lawyer in Maryland.         Correct?

19      A.   Yes.

20      Q.   And you live in Maryland and work in Maryland?

21      A.   I do, yes.

22      Q.   And so when was the last time you actually saw

23      Mr. Harkrider in person?

24      A.   In person, I'd say probably around the end of 2012.

25      We've had some communication, of course, though, you know,



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 1      not before Zoom became big, Facebook Messenger, chats and

 2      things of that nature.

 3      Q.   So you then mentioned you have spoken to him recently

 4      and perhaps as recently as June 2020.        Is that right?

 5      A.   Correct; for things outside of this incident.         Yes.      I

 6      just want to make sure I'm clear with that understanding,

 7      though.

 8      Q.   Of course.    I just meant generally speaking, that was

 9      the last sort of contact you had with him.

10                  And so you haven't spoken to him at all since the

11      election on November 3rd of 2020.        Is that right?

12      A.   Not to my recollection.

13      Q.   And you didn't have conversations with him about the

14      election results or his feelings about the election.            Is

15      that right?

16      A.   No.   And that's a personal thing for me as well if -- I

17      stay pretty [indiscernible] on political affairs.

18      Q.   And I guess sort of my question, then, is you don't know

19      how the results of the election or the aftermath affected

20      him in any way, if it did?

21      A.   Unfortunately, no.

22      Q.   You mentioned when you were asked about his PTSD that

23      you were aware of it, but you used the phrase that it was

24      your understanding that he had been doing pretty well.            Is

25      that correct?



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 1      A.   That is correct.     When I say that, I mean that through

 2      the conversations we've had in the last -- from this

 3      incident of July of 2020 and then other conversations that

 4      I've seen just kind of go on in our Marine groups, he's been

 5      able to handle himself pretty well and stay out of trouble

 6      and, you know, be a contributing member of society.

 7      Q.   But you don't interact with him on any kind of daily

 8      basis in person.     Correct?

 9      A.   I do not.    No.

10      Q.   And you do not -- you have not been down to Texas in any

11      recent time to visit him and sort of see how he deals on a

12      day-to-day basis?

13      A.   No, I have not.

14      Q.   You don't know whether or not being on medication or not

15      being on medication is the right path for Mr. Harkrider.

16      Correct?

17      A.   I don't have that doctorate, unfortunately.

18      Q.   Ours only gets us so far.

19      A.   Yes.

20      Q.   So you mentioned earlier that, you know, you know his

21      habits and you know that he is generally a sort of docile,

22      kind person.     Is that correct?

23      A.   Yes.   Absolutely.    And I say that through experience in

24      a combat situation.     You really get to know the core of

25      someone's personality in a situation where it's life or



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 1      death.     And at no point would I ever consider Mr. Harkrider

 2      to be anything but a decent human being because of this

 3      interaction.

 4      Q.   Correct.

 5                   And that's drawing, as you just said, on sort of

 6      the experience you had with him in the military.          That's

 7      sort of the basis of a lot of the opinion.         Is that correct?

 8      A.   Absolutely.    Yes.

 9      Q.   And did you ever hear or were you familiar with his

10      Co-Defendant Mr. Nichols prior to this?

11      A.   I am not, no.    I believe there was an interview with

12      Ellen DeGeneres a few years ago.

13      Q.   Had you ever heard Mr. Harkrider talk about Mr. Nichols?

14      A.   No.

15      Q.   You mentioned there was this sort of network of Marines

16      that -- and I am confident that there's a strong network of

17      Marines.     But a lot of the Marines you don't know

18      personally.     Is that right?

19      A.   No.    It's all gentlemen that we actually served with who

20      happen to live in and around the state of Texas and knew

21      where Mr. Harkrider lives.

22      Q.   Okay.    And the majority of the communications that you

23      had with these Marines would be through text messages.          Is

24      that right?

25      A.   Texts and other communications.       Mostly I think Facebook



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 1      Messenger is a big -- is a popular one, since we all have

 2      Facebook.

 3      Q.   So sort of a messaging system?

 4      A.   Absolutely.

 5      Q.   Some kind of messaging system?

 6      A.   Exactly.    That would be fair.

 7                  MS. KEIL:    I have no further questions, your

 8      Honor.

 9                  THE COURT:    Thank you, Ms. Keil.

10                  Anything else?

11                  MS. WEST:    No, your Honor.

12                  Thank you, Mr. Anderson.

13                  THE COURT:    Thank you, Mr. Anderson.      You're free

14      to go.   You can sign off.

15                  THE WITNESS:    Thank you, your Honor.       I

16      appreciate your time.

17                  (Witness excused.)

18                  THE COURT:    That's all the witnesses.      We're

19      finished with the hearing as to that.

20                  Do you want to give any brief summary, Government

21      and the Defendant?      Because I'm going to rule from the bench

22      at this point.     It'll take me a while to do that.         But if

23      the Government has any issues they want to raise or either

24      Defendant does, I think it's a really close case, actually.

25                  MS. KEIL:    Yes, your Honor.    If I can just make a



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 1      few comments just in response to Ms. West's comments

 2      earlier.

 3                 THE COURT:    Yes.

 4                 MS. KEIL:    I will note that -- and I am not

 5      intending to call the Task Force Officer Harry, who is on

 6      call, if needed.

 7                 I would proffer to the Court that actually -- just

 8      in response to the concern about the Snapchat message and

 9      whether or not the writing on that had been doctored or

10      where it came from:     Actually, just today, the task force

11      officer told us just a few hours ago he had actually

12      contacted the user who posted that Snapchat who sent it in;

13      and he had a chance to speak with that person and asked if

14      the person who had provided that Snapchat image had doctored

15      that image, if she had added any text to it.

16                 And she denied doing that, stated that that's how

17      it appeared on Snapchat when she viewed it.         And I only

18      bring that up because there was a question about that

19      earlier.

20                 If the Court would like to hear from the task

21      force officer, I can certainly have him testify as to that.

22                 And then the other thing that I wanted to note is

23      that, you know, I agree with the defense in the sense that a

24      lot of these factors, taken on their own, might not amount

25      to holding this Defendant and depriving him of liberty.          I
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 1      get that.    We are not alleging that this Defendant was part

 2      of the massive scheme with Oath Keepers and Proud Boys.

 3      That's not -- the Government is not making that argument.

 4                  But the Government does believe, based on the

 5      Defendant's own words, Ms. West specifically said we need an

 6      articulable threat.     And we have the Defendant's words of

 7      "This is only the beginning."       It's a threat of future

 8      violence.

 9                  That is one -- you know, I would say from the

10      Government's position, his actions after the 6th are almost,

11      you know, more telling than what he even did prior to the

12      6th.    There was a lot of discussion about arming himself to

13      be careful, to be protective of himself because he was

14      afraid of the violence he might encounter when he gets

15      there.

16                  And I don't know.     As far as the Government's

17      concerned, I don't believe that's reasonable based on what

18      they were expecting to do.      If they were expecting to go to

19      a peaceful protest, you don't bring a tomahawk, such as the

20      Court saw in one of the photos.       I mean, it was 12 inches

21      long with a very large, you know, axe part, the head of it.

22      It's not an insignificant weapon.

23                  And while it may or may not meet the technical

24      definition of 3 inches I think is really [indiscernible]

25      math.    But the point is, it can do harm and it was a
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 1      dangerous weapon.

 2                   And, you know, he went there knowing.       That's why

 3      he brought the weapons.      That's why he brought the plate

 4      carriers.    That's why they went looking for -- that's why

 5      they came armed and dressed looking -- you know, expecting

 6      there to be an altercation.       And it wasn't an altercation

 7      they were shying away from.       I mean, they knew there could

 8      be, quote, "battle," and they fully intended to go out

 9      there.

10                   You know, the other thing that's very concerning

11      is the Defendant's own words.       There was indication that

12      when he gave his statement he was, quote, "completely

13      honest."    I don't think that's a fair representation of what

14      his statement was.     It was only after confronted with the

15      photo of the Tomahawk X, it was only when he was shown

16      videos and photos, did he admit that that was true.

17                   He did admit it, and he was cooperative during the

18      interview.    The Government's not suggesting otherwise.        But

19      it did not come easily.      It was only after he was shown

20      these pieces of evidence.

21                   And originally, he denied doing -- you know, he

22      was there on the 6th.      He didn't mention any vandalism.     He

23      didn't do anything.

24                   I mean, the Court would note again he also kept

25      one of the table legs.      I mean, that is something that he
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 1      had to pick up while he was at the Capitol, take all the way

 2      back to Texas with him, did not leave it anywhere; and he

 3      kept it in his house, and not just in his house, but on his

 4      nightstand next to his bed.       You know, this was something

 5      that he had a memento of that day.

 6                   Ms. Cox very clearly loves her son and wants to

 7      think the best of him.      And there's a lot of great things

 8      that Mr. Harkrider has done in his life.         Again, the

 9      Government is not disputing that.

10                   But the fact remains that a lot of what we're

11      hearing from a lot of his friends and family is that his

12      statements were jokes.      You know, he jokingly said it was a

13      revolution; he jokingly, you know, said that he was hiding

14      out in Shreveport.     There was a lot of -- he joked when he

15      talked about battle.

16                   I mean, I think that defense is really just an

17      excuse that only goes so far.       I think once in a while

18      that's fair.    But when you come back after you learn what

19      happened, when a woman -- at that point at least, they knew

20      one woman had died at the Capitol -- it ceases to become a

21      joke.   This is not a joke; this is a serious offense.

22                   You know, counsel mentioned that liberty is the

23      norm in America.     And I agree with that.      But so is

24      democracy.    And these Defendants decided that democracy was

25      not the name of the game that day.        They did not care.    They
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 1      wanted their outcome however they were going to get it.         And

 2      they were proud of that and they were happy with that and

 3      they were looking for more.

 4                   And Defendant Harkrider's actions after the 6th

 5      indicate that this is a person who, while maybe he had great

 6      intentions in other parts of his life, is a danger to the

 7      community and a danger to democracy going forward if he were

 8      to be released.

 9                   THE COURT:   I appreciate that.     Thank you.

10                   Do you want to respond to the Government's

11      position?

12                   MS. WEST:    Thank you, your Honor.

13                   Everything the Government just said did not

14      identify any concrete, articulable threat or danger to the

15      community.

16                   What the Court said in Munchel is, after

17      evaluating the four statutory factors, the ultimate question

18      in this case is whether no release conditions would

19      reasonably ensure the public safety.

20                   And we believe that this Court can give conditions

21      that will ensure public safety.

22                   Judge Katsas says that the record showed that

23      Munchel and Eisenhart, the two Defendants, chose to

24      trespass.    Not to engage in violence, which is true in this

25      case.   They surrendered to the FBI, which we don't have in
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 1      this case; but in Mr. Harkrider's defense, he didn't know

 2      there was a warrant for his arrest.

 3                  The Government tried to insinuate that he was

 4      hiding out in Shreveport, which you heard the mother testify

 5      he was at his home those days.       The Government is making

 6      assumptions.    They can just use his GPS coordinates and know

 7      that he was home every single day when he came home.

 8                  And the other thing Judge Katsas thought was very

 9      important was that he did not engage in any violence, much

10      less fight to the death, even though the Defendants in

11      Munchel said things that are much more grave than anything

12      that Mr. Harkrider said.

13                  Moreover --

14                  THE COURT:    What about the pepper spray in the

15      canister?    How does that factor in?      He had definitely a

16      large canister in his hand he was waving around and

17      apparently passed to someone else.

18                  MS. WEST:    Yes.    I agree with the Court that the

19      video shows that he held the canister for a few seconds.

20      Unfortunately, as I say, your Honor, he doesn't know that's

21      what he has in his hand.        He never turns around.    He's never

22      talking to anybody.

23                  All it shows is because everybody is so close and

24      packed together, that he's not only not looking at anybody;

25      he's not having a conversation with anybody.         He passes it
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 1      over his head.    It's hard to tell where that canister came

 2      from or where it was going.       But I agree with the Court that

 3      he did in fact have it.

 4                  What's really important is that Mr. Harkrider made

 5      no attempt to hide or remove the firearms that he lawfully

 6      possessed in his home and he completely cooperated with the

 7      FBI when they came to his home even though he'd been

 8      flash-banged and surrounded by 15 agents.         I think that

 9      shows the Court how he will behave if the Court gives him a

10      bond.

11                  For those reasons, your Honor, we believe under

12      Munchel and Klein and even the Court's -- Chief Judge

13      Howell's decision in Chrestman, when you consider those

14      factors, that there is absolutely no danger that is

15      articulable and identifiable in this case.

16                  And we respectfully ask the Court for a bond.

17                  THE COURT:    And what are you suggesting for an

18      amount?   I mean, how --

19                  MS. WEST:    Well, I should say "conditions of

20      release."

21                  I believe, your Honor, that you could do GPS

22      monitoring.    That's absolutely a possibility if the Court

23      wanted to do that.      You can have his mother sign as a

24      third-party custodian.      He's welcome to live in her home.

25      There's all kinds of things the Court can do.          He can call
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 1      Pretrial Services daily.      He could report daily.      There are

 2      many, many things he could do.       In fact, Pretrial Services

 3      in Texas recommended those things.

 4                 THE COURT:    Thank you for all that, the

 5      submissions on both sides and the work done on the case.

 6                 I'm going to issue a ruling.       It's going to be a

 7      bench opinion.    I'll dictate it at this time, rather than

 8      take the time to write something in detail.

 9                 As to the Co-Defendant Mr. Nichols, Mr. Files, if

10      you wish, you can stay on and listen to this.          And for

11      Mr. Nichols we can arrange another date for a status call.

12      This will take me about another 30 minutes or so at least.

13                 MR. FILES:    No, your Honor.     We'll stay and

14      listen.

15                 THE COURT:    That's fine.

16                 All right.    I'm going to issue a ruling on this

17      request by the Defendant to reconsider the conditions of

18      bond and revoke the order of detention, originally called a

19      motion to modify the conditions of bond.

20                 As we noted at the beginning of the case, I must

21      do a de novo review of the Magistrate Judge's findings in

22      our circuit and listen to the evidence and make findings

23      according to what I see and the evidence.

24                 We start with the fact that Mr. Harkrider is not

25      contesting that he was seen on the videos entering the
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 1      Capitol with the crowd of individuals on January 6th in

 2      possession of a tomahawk he kept with him at all times.

 3      There's no evidence that he used it.

 4                 The charges against him -- the multiple charges

 5      against him, many felonies and misdemeanors -- stem from his

 6      participation in the riot and that he had -- prior to his

 7      arriving, and I can find, and the evidence is clear, that he

 8      and Mr. Nichols had exchanged text messages discussing their

 9      plans about coming to the rally, which is fine, but they

10      also discussed bringing weapons, specifically freedom

11      blasters, which I assume is guns, picking up plate carriers

12      and maybe an actual battle, as is referenced back to his

13      statements, that he was looking forward to engaging in the

14      conflict, and he brought his .9-millimeter pistol and .30-30

15      rifle with him, which he left in his truck.

16                 There's evidence the night before they went up to

17      the Black Lives Matter Plaza which has been put together on

18      16th Street near the White House and that they have said

19      that they [indiscernible] harassing individuals in the area,

20      including police officers.

21                 I don't think that I can go with that, either.

22      They thought there was going to be a battle with antifa and

23      Black Lives Matter the next day or at the Capitol.          I don't

24      think it's clear that they had planned to attack the

25      Capitol.
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 1                  But the videos show him in fairly -- in front of

 2      the crowd trying to get into this one area of the Capitol

 3      that was being blocked by the officers.         It does show

 4      [indiscernible] on.

 5                  By the way, I did want to ask the Government one

 6      question before I finish:        What is the source of that video?

 7      Who put that together?      Is that a witness to this or does

 8      that come from various videos?

 9                  MS. KEIL:    That was a video, your Honor, that was

10      online that the agents found.       The Government did not

11      compile that.

12                  THE COURT:   I understand it was a live video, but

13      I wanted to understand where it came from.         It was found

14      online?

15                  MS. KEIL:    I believe that's correct, your Honor.

16                  MS. WEST:    Your Honor, if I may interject, I want

17      to make sure that all these videos are, in fact, in

18      evidence.    I don't know what the Government gave the Court

19      exactly.    But my understanding --

20                  THE COURT:   The Government gave me the exhibit

21      that was used, apparently, in the Magistrate Judge's

22      hearing.    I just have the record from the Magistrate Judge.

23      That's all I've looked at.

24                  MS. WEST:    Okay.

25                  THE COURT:   And that's a long video.       It's the
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 1      whole video.    The Government showed parts of it today.

 2                  MS. WEST:    My understanding from the Government

 3      was they submitted several videos to the Court, and my

 4      understanding was that those were in evidence.          So I want to

 5      make sure --

 6                  THE COURT:   I have not seen other videos.          If they

 7      have them, I haven't seen them.

 8                  MS. WEST:    May I inquire if I'm misunderstanding

 9      that?

10                  MS. KEIL:    So to be clear, the Government

11      submitted this video, which was about an hour and a half

12      long, I think, total, which is what the Government presented

13      today.

14                  The Government did also submit on Friday the

15      phased excerpts, and there was an additional video that was

16      referenced in the preliminary hearing that was entered into

17      the preliminary hearing, which -- that was the video of them

18      down on Black Lives Matter Plaza, which we did not play

19      today.   By that was the other video I referenced.

20                  THE COURT:   Right.    I haven't seen that.

21                  MS. WEST:    I wanted to make sure that that was in

22      evidence, your Honor.      That's the one.

23                  THE COURT:   That was before the Magistrate Judge,

24      you said?

25                  MS. KEIL:    It was, your Honor.     Yes.
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 1                   THE COURT:   That would have been -- it should have

 2      been in the package that you presented here, then, for the

 3      hearing.

 4                   MS. KEIL:    I did provide that on Friday, your

 5      Honor, to your law clerk.

 6                   THE COURT:   Well, then, I'll make it part of the

 7      record, because if the Government wants it to be considered,

 8      it should be part of the record.       I did not review that

 9      particular video.     I used the summary that I saw of the

10      materials.    It was in that video.

11                   MS. WEST:    Thank you, your Honor.

12                   THE COURT:   Now, Mr. Harkrider, then as I got to

13      the beginning of the video that we did watch shows him being

14      fairly towards the front of the crowd packed into this area.

15      And I guess it's a very dramatic scene as he progresses to

16      where people are attacking the police with spears or

17      whatever they're holding, et cetera; and he's in that crowd,

18      not doing any of that.      But it's clear he's there.

19                   I think it's arguable whether he's being pushed by

20      other people or he's also pushing.        It seemed to me he is

21      doing some of the pushing himself.        But I can understand an

22      argument on that.

23                   But the passing of the canister is very clear.

24      He's handed a canister somehow and he gets rid of it

25      somehow.   I don't clearly see how he got rid of it and what
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 1      was done with it, but there's a question that it seems it

 2      went in front of him to end up directly in engaging with law

 3      enforcement at some point.      We don't actually see that being

 4      done.   That concerns me in weighing the evidence.

 5                 Then when you get to the ledge of the window, he

 6      and Mr. Nichols are there.      And Mr. Nichols said very

 7      violent things.     Mr. Harkrider did not say those, but he

 8      stood next to him, gesturing.       And the tomahawk on his chest

 9      is visible.

10                 He went through the broken window and came back

11      afterwards and he had sent a message at that point that was

12      accurate, that they say it was accurate, that:          "We're in.

13      Two people killed already.      We need the patriots of this

14      country to rally the F up and fight for freedom.          Give us

15      liberty or give us death.      We won't stand for it."

16                 Then you see him standing there waving his arms as

17      if he's encouraging people, but he was certainly waving his

18      arms and then finally making a very quick gesture across his

19      throat, which can be interpreted to be slashing throats.

20      I'm not sure what he was intending, but that's how it can be

21      interpreted, certainly.

22                 Later, he made a Facebook post the next day that

23      "This is only the beginning.       After the Democrat and

24      Republican party, I stand with the constitutional party."

25                 And after he was arrested, he made statements
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 1      about his involvement, which he said after given his Miranda

 2      rights.

 3                   Now, looking at the legal standard of how we

 4      handle this:    Obviously, under the Bail Reform Act, the

 5      person awaiting trial, the Defendant, will be released or

 6      detained depending on what the Court's reading of the

 7      evidence is.    And the passage here -- the case involves a

 8      felony; it involves possession or use of a dangerous weapon.

 9      And three counts -- at least three counts of the indictment

10      fall under that category.

11                   So I have to hold the Defendant pending trial if

12      the judicial officer determines that no condition or

13      combination of conditions can reasonably assure the

14      appearance of the person -- I'm not worried about that --

15      and the safety of any other person in the community.            That's

16      the real concern.     That's under Sabol, S-A-B-O-L, out of our

17      District Court here on April 14th.

18                   So whether or not the Defendant is a danger to the

19      community:    I have to go through the four factors.        And I

20      think it's a difficult decision, because I have to

21      reasonably assure the public's safety.        I'm not worried

22      about his appearance.      I don't think that's a problem.

23                   So I've got to look at the nature and

24      circumstances of the offense surrounding the charge.            And

25      it's inflammatory offenses here, including [indiscernible]
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 1      of violence, the weight of the evidence, the history and

 2      characteristics of the person.

 3                  And under that category, I look at the character,

 4      physical and mental condition, family ties, employment,

 5      financial resources, residency in the community, community

 6      ties, past conduct, history related to drug and alcohol

 7      abuse, criminal history; and at the time of the current

 8      offense, whether he was on any type of conditional control,

 9      which he wasn't; and then the risk of any danger to any

10      person in the community.

11                  If I find that no conditions of release will

12      reasonably assure the safety of the community, of other

13      persons, that has to be supported by clear and convincing

14      evidence.    There's a different burden about risk.

15                  All right.   Obviously, Munchel said that the

16      violent breach of the Capitol on January 6th was a great

17      danger to democracy and that those participating could

18      rightly be subject to detention to safeguard the community.

19                  Our courts have looked at this very differently

20      and [indiscernible] in this court look at it somewhat

21      differently, the type of burdens and the type of detention

22      it ordered in cases ordering the defendants detained without

23      bond.

24                  Chief Judge Howell has issued the Chrestman case,

25      where she appeared to put in categories or types of factors
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 1      that we should consider, which I think is very helpful.

 2      Judge Bates in the Klein case released the Defendant.           He

 3      was charged with three felonies, other similar charges, and

 4      had hand-to-hand involvement with the police.          But there was

 5      no evidence of preplanning or any evidence the Defendant

 6      played a leadership or investigative role and no evidence he

 7      overtly tried to endanger any officers.

 8                  Other judges have held defendants with similar

 9      charges against them.

10                  So looking at the circumstances here to be

11      assessed and in looking at the culpability, we use Chief

12      Judge Howell's guidelines and guidebook:         Compare

13      culpability of a given Defendant in relation to fellow

14      rioters.    That's Chrestman.     And other judges have used that

15      same analysis now.

16                  So that includes whether the Defendant has been

17      charged with a felony or just misdemeanors.         Here, we have

18      felonies.

19                  Whether he engaged in prior planning before

20      arriving at the Capitol:      It is disputed somewhat about this

21      prior planning.     I think it can be fairly read that the

22      prior planning seemed to be more about engaging with other

23      protesters of opposite views and by traveling that night

24      before to the Black Lives Matter Plaza and looking for

25      trouble, but not evidence that they had planned to go to the
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 1      Capitol and attack the Capitol.

 2                 Carry or use a dangerous weapon during the riot:

 3      He did carry a dangerous weapon in the riot.

 4                 Coordinate with other participants before or

 5      during or after the riot:      [Indiscernible] coordination

 6      means.

 7                 Assumed a formal or de facto leadership role in

 8      the assault by encouraging other rioters' misconduct:           He

 9      stood by Mr. Nichols, who was obviously doing that, and was

10      very involved with that.      Whether that's encouraging others,

11      I'm not sure.    He did wave his hands and gesticulate and

12      then he came on the window scene later and waved his hands

13      and seemed to be encouraging people to come in and use this

14      slashing-the-throat sign.      And I'm not sure whether that is

15      an act of leadership or not.

16                 Then the sixth is the nature of the Defendant's

17      words or movements during the riot and whether he threatened

18      or confronted federal officials and law enforcement while

19      being on federal property.      Well, he took, apparently, a

20      broken leg off a table.      I don't know if he's responsible

21      for that or what else he said he did there.

22                 Whether the Defendant threatened or confronted

23      federal officials or law enforcement or promoted or

24      celebrated efforts to disrupt the certification of the

25      electoral vote count:      He certainly celebrated somewhat
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 1      afterwards.    And it was comment about:      Two people killed

 2      and we're going forward here.

 3                   So the prior planning:    Let's talk about that

 4      first factor.    They didn't coordinate plans to come to

 5      Washington.    They did plan to bring weapons and secure vests

 6      to wear to protect themselves.       Mr. Harkrider expressed

 7      excitement at getting to an actual battle that could be a

 8      war zone and bringing all the freedom blasters that he

 9      owned.   And they stayed in Virginia.       They didn't bring the

10      guns to DC.

11                   And the planning, it seems, were firearms and

12      vests, first aid equipment and goodies, which may be a

13      reference to the drugs that had been [indiscernible].

14                   And he was certainly dressed in tactical gear

15      earlier with some type of equipment he had on and armed

16      himself with a tomahawk, which someone at a peaceful protest

17      would not have done, is the Government's position.

18                   And I think that that does show he wasn't caught

19      up in the frenzy of the crowd, but came to Washington with

20      intention.    I don't know whether it was disrupting the

21      democratic process and or whether he came to battle those

22      who had different views that he was concerned about.            And

23      there's some evidence that [indiscernible] that he was

24      worried about Black Lives Matter people and he had never

25      been up here before.
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 1                   I think that that's not shown to me, that they

 2      were planning to come here to attack the Capitol

 3      definitively.

 4                   I think as far as his prior planning and

 5      coordination, I don't see the evidence suggesting that he

 6      talked to anyone about coming up to attack the Capitol.         He

 7      talked to Mr. Nichols, who was obviously the leader.

 8                   But Munchel says very clearly -- I don't know how

 9      to get around that -- that those who aided or conspired

10      with, planned or coordinated such actions are in a different

11      category of dangerousness.      But the opinion says that the

12      coordination involved more than two co-defendants.

13                   Here, I can't find that they were definitively

14      coming to attack the Capitol.       I think, like in Munchel, the

15      Defendant traveled to the riot with tactical gear and

16      weapons and a lot of very strong statements, more than we

17      have here.    The Court found they were not involved in

18      planning or coordinating these activities.

19                   And in fact, one of them actually had a Taser with

20      him that they didn't use but, like Mr. Harkrider, had a

21      weapon.

22                   So I think the planning and preparation and

23      coordination factors at most are a wash.         In other words, I

24      don't think the Government carried the burden they have to

25      carry as to that factor.      And I don't think it puts him in a
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 1      higher category of dangerousness contemplated by Munchel at

 2      this point, at least, under those factors.

 3                   Now the weapon concerns:     He carried a tomahawk

 4      into the Capitol.     That's one thing.     He didn't use it.   And

 5      I think under Munchel again -- that's M-U-N-C-H-E-L -- where

 6      they said Munchel kept his Taser holstered on his hip, they

 7      did not see a problem with that.

 8                   It's somewhat surprising, but that's the rule of

 9      the circuit I have to follow.       And the tomahawk was --

10      although you could see it, there is no evidence that it was

11      ever used.    And it's certainly on an order of magnitude as

12      dangerous as any baton or a Taser or more dangerous.

13                   But I think that the concern is the pepper spray

14      and what happened to that that was used against the

15      officers.    And that is -- it has to be based upon what I

16      could spot from the video, the evidence on the video.

17                   The video clearly shows at some point

18      Mr. Harkrider is handed a large container, a cylindrical

19      container that looks to be a foot long or more; and he takes

20      it, I believe, with his right hand and holds it up and that

21      he may -- it's not clear whether he's asking someone to take

22      it or whether he's saying to do something with it.

23                   But then a second or two later, it is -- and this

24      bothers me -- it's not clear who he handed it to or how he

25      got rid of it.    He did something with it, because he no
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 1      longer had it a few seconds later.        But it concerns me that

 2      the pepper spray, passing that on, has any meaningful

 3      distinction from the conduct of the Munchel Defendants, who

 4      carried a holstered Taser but didn't do anything with it,

 5      but said some very strong things about what was involved in

 6      their work in the attack on the Capitol.

 7                   And again, I think that I have to find by clear

 8      and convincing evidence that he's a danger to the community.

 9      And I can't find that by clear and convincing evidence, that

10      he did that, that that has shown that he did it knowing what

11      it was and passed it on.      I think that's close, but it's a

12      very slim case to me in the sense that it's a very close

13      case to me.    "Slim" is not the correct word.

14                   Again, as to his leadership:     He's really not the

15      leader.   He's certainly following others.        He took a role

16      close to the beginning of the attack.        He was a few feet or

17      several feet back from going into where they were going in

18      the building; and you can see right in front of him they

19      were attacking the police, and he obviously could see that.

20      And then he had the episode at the window, pumping his visit

21      and he made that throat gesture.

22                   It seems clear to me that Mr. Nichols played a

23      leadership role with the yelling and the bullhorn,

24      et cetera.    Mr. Harkrider, it seems to me, was playing

25      basically -- supporting Mr. Nichols.        And the evidence
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 1      shows, I think, as to the nature of his conduct that he knew

 2      what he was doing.     He sent texts indicating what he was

 3      doing.

 4                  There's been testimony by Mr. Anderson, his

 5      friend, that he is a calm and peaceful man.         But it doesn't

 6      show that he was deterred by any scenes of violence around

 7      him at all.    There's no evidence that he did some serious

 8      thing within the building once he got in.         It's really that

 9      he was in the building and what steps he took to get in and

10      then he left, although he took a table leg, and that is

11      somewhat indicative of his position, that he kept the leg in

12      his home with him.

13                  I think this is a close case.       I am going to find

14      that Mr. Harkrider was definitely an enthusiastic

15      participant, but there's no indication he committed a

16      destructive act inside the Capitol except for the canister

17      of pepper spray that I can't find definitively what

18      happened.

19                  And on the balance, in light of the Munchel and

20      Chrestman factors, it seems to me to slightly indicate that

21      there's not a finding of dangerousness which I have to find

22      by clear and convincing evidence under the statute.

23                  He possessed a dangerous weapon.       He committed

24      potentially a number of felonies.        But I don't think he

25      personally committed or actually committed violence or
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 1      engaged in far-reaching coordination with others and that

 2      his subsequent statements, I think, were his bragging about

 3      what he did.    When he said "This is the beginning," I can't

 4      take that as meaning that he was ready to go back to the

 5      next rally and commit crimes of violence against people.

 6                 I have to give some credence to the people -- to

 7      Mr. Anderson's testimony.      His mother is a little less

 8      credible because of her not recalling a lot of these text

 9      messages with her son at this time and about what happened.

10                 But the Government, it does have evidence against

11      the Defendant that seems very strong:        that he was there; he

12      went into the Capitol with a tomahawk, all of which is

13      illegal, with a dangerous weapon and that he took some steps

14      to encourage people, at least following Mr. Nichols, and

15      that they used social media to celebrate this entry into the

16      Capitol, is what they did.

17                 The history and characteristics:        We've heard

18      about his combat, that he suffers from PTSD, that he says

19      he's doing better, that he has various family and friends

20      from the letters I've reviewed, all supporting him.

21                 I am concerned.     Even some of these letters

22      indicate that there's a disbelief in the legitimacy of the

23      current government and the election.        They have to get some

24      way to make people understand.       The election is over.      And

25      Mr. Trump has been found after over 50 lawsuits that were
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 1      decided by judges, many appointed by Trump, that he did not

 2      have a case.    And it concerns me that there's people still

 3      out there that don't accept that.        And I don't know what's

 4      going to happen eventually.       I asked questions about that

 5      earlier.

 6                  I have to say that I can't find the Defendant will

 7      not actually abide by conditions of release if we make

 8      certain conditions that will assure me that, if released,

 9      what he can do and not do will not cause harm to the public

10      or any individual.     I can't find it's not likely he will

11      comply with the conditions of release.

12                  There were concerns about his mental health

13      status.    I'm also concerned about that.       His mother did not

14      indicate that was a problem at this time, that the suicide

15      was not an issue.     His counsel described what is a serious

16      discussion and that he was not going to do that.          I don't

17      see any other evidence in that respect.

18                  I don't think that his release would justify him

19      or -- "justify" is not the word -- that his release would

20      expose people to danger at a possible future protest.

21      Munchel says there's no evidence that he would do that.          He

22      does have this mental health history and it does worry me,

23      and I take any conditions I set for him into account.           His

24      additional Facebook posts concern me.

25                  So I'm going to find that he is not posing a
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 1      threat by clear and convincing evidence at this time or a

 2      danger to the community should he be released based upon his

 3      record and his history at this time.

 4                  I am going to order him to be released subject to

 5      high-intensity supervision at his home.         His mother as a

 6      third-party custodian has to be responsible for him and

 7      report to the Court if there's any breach of any of his

 8      requirements.

 9                  And I was concerned because there was some

10      indication I saw in the Pretrial Services report that in

11      Carthage, Texas, they may not have GPS.         I'll look into

12      that.   But that remains to be seen.       I would want a GPS or,

13      in any event, an electronic bracelet on Mr. Harkrider,

14      because I think it's the only way to assure where he is and

15      what he is doing.

16                  He'll have to report originally daily to Pretrial

17      Services.    He can call in to make sure; and later, if he has

18      obeyed the conditions, we can lift that to weekly.          I want

19      to make sure that Pretrial Services stays in touch with him

20      on a regular basis and confirms what he is doing.          I want to

21      be sure that he does not come back to the Capitol or go to

22      any other political rally of any type during the term of his

23      bond.   And the only time he can come back to Washington, DC,

24      is for any court hearings or appearances.

25                  I want to make sure you stay out of your social
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 1      Internet media on discussions of issues involving the riot

 2      and the factors leading to the riot and your involvement.

 3      You're not to contact anybody that's been in the -- that you

 4      know was at the riot with you, which would include

 5      Mr. Nichols, after your release, or others.         I want you to

 6      get removed as far as possible from the influences and the

 7      people that you dealt with that encouraged you to go into

 8      Washington to engage in violence, because you came up here

 9      not as a peaceful protester, which bothers me deeply.           You

10      came up here to have fights and hurt people.

11                 I can't find the Government's shown that that was

12      to interrupt Congress's legitimate function of approving the

13      electors for the presidential election.

14                 I think you came up here to hurt other people

15      if you could, whether you were attacked or whether you

16      wanted to attack other people.       And your actions the night

17      before the riot indicate that.       That troubles me.     But I

18      think you've seen what jail is like.

19                 And the additional factor I'm considering in your

20      case is because of your mental health situation, without

21      your service dog, leaving you locked up 23 hours a day in a

22      cell, where I can't give you a trial date -- I think these

23      long delays are getting into trials in all of our cases, but

24      particularly now in the riot case, which concerns the Court.

25      There is no suggestion in any case I've had yet that there
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 1      can be any guarantee of getting something set in the Court's

 2      schedule of having trial throughout the summer.           We still

 3      can't even get the Government to agree to set trial dates

 4      because they don't know what will develop.

 5                 So for those reasons, I am going to allow the

 6      Defendant out on a highly supervised bond.         It's

 7      high-intensity supervision.

 8                 It has a lot of requirements to it, Mr. Harkrider.

 9      And if you fail to meet those requirements, you will be

10      rearrested and placed in detention awaiting trial, no matter

11      how long it takes to get to trial.

12                 All right.    The Court is going to have his

13      counsel, along with the Government, talk to Mr. Smith and

14      get the order for his release together and submit it to me

15      and I'll sign it.     So it'll be a day or two before

16      Mr. Harkrider will be considered for his release until we

17      have that information.

18                 But that'll be the bench opinion of the Court in

19      the matter.

20                 Now I'll talk about the next status date.            From

21      the Government's point of view, what makes sense as to a

22      status call in this case?      30 days?    You're talking about

23      producing evidence in this case for Mr. Files and for

24      Ms. West and for them to look it over and then get back to

25      me.   That's what we may need to do next in the cases.
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 1                  MS. KEIL:    Yes, your Honor.    The Government has

 2      been able to provide quite a bit of discovery.          A lot of it

 3      I disclosed on Friday.      There is still some hard data

 4      information that we're working on to get over to them.          And

 5      some of that is in the process right now, getting copies

 6      made to them.

 7                  So I do know that both counsel have an interest, I

 8      believe, in doing a Capitol tour; and there's specific dates

 9      set up.   And I believe they were looking at the end of May,

10      beginning of June.      And there's a few things I have actually

11      talked with counsel about to give them some idea of where we

12      would be headed for possible -- you know, trying to get a

13      plea offer out.

14                  So I think the second week of June perhaps would

15      be good with the Government to at least see where we are at,

16      if that's amenable to the Court and the defense.

17                  THE COURT:    I'll of course hear from counsel, but

18      I just don't think we can do it any quicker than that

19      because of the complexity of the cases that we've talked

20      about.    So I think that's probably fair.

21                  But I would hope at that point -- you know, that's

22      another seven weeks away or so -- that we can have some idea

23      about the Government's communication with Justice, the US

24      Attorney's Office and that you've worked out along with your

25      chief of division and yourselves as to the pleas that could
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 1      be offered and whether to make them -- at least the

 2      Government's going to offer pleas, I hope, at some point.

 3      And then the defense ought to have a chance to look at all

 4      the evidence and talk to their clients about what to do and

 5      what the litigation is that has to go forward.

 6                 So you're talking about the week of the 14th of

 7      June, you think?

 8                 MS. KEIL:    Yes.   And any day that week works for

 9      the Government.

10                 THE COURT:    I've got a hearing.

11                 Well, Mr. File is in Texas.       You're an hour ahead

12      of us?

13                 MR. FILES:    Your Honor, an hour behind you.

14                 THE COURT:    An hour behind?

15                 MR. FILES:    Yes, your Honor.     We could do it the

16      week of the 14th.

17                 MS. KEIL:    I apologize.     Monday the 14th is not

18      good for the Government, but any other day.

19                 THE COURT:    I have another matter set, a hearing.

20      Tuesday the 15th I'm open.      On the 16th I have hearings.

21      The 17th is open.     The 15th is clear.

22                 MR. FILES:    The 15th works fine for us too, your

23      Honor.

24                 MS. WEST:    It's good for us, your Honor, after

25      10:30.   I have something at 10:00, but I think I'll be done
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 1      at 10:30.

 2                   THE COURT:   For Mr. Files, we'll probably do it at

 3      11:00.

 4                   MS. WEST:    Oh, that's right.

 5                   THE COURT:   We'll do it at 11:00 a.m. on Tuesday,

 6      June 15th.    And that'll be a status call at that point.

 7                   And the Government's obviously going to advise me

 8      if there are issues that come up with Mr. Harkrider and his

 9      release.

10                   And Mr. Nichols will stay where he is at this

11      time.

12                   And then we'll be back on the 15th, and hopefully

13      at that point we'll have some ability to take some planning

14      steps as to how to resolve these cases, either through trial

15      and motions or to resolve them.

16                   All right?

17                   MS. KEIL:    Yes, your Honor.

18                   MS. WEST:    Yes, your Honor.

19                   MR. FILES:   Yes, your Honor.

20                   PRETRIAL SERVICES OFFICER SHUCK:      Your Honor --

21                   THE COURT:   All right, Mr. Harkrider.      You've

22      heard what I've said.      You've got to obey exactly what

23      Pretrial Services will tell you to do.        You're going to have

24      to sign a document that compels you to abide by those terms.

25      If you don't, you'll be back in jail pending trial.
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 1                 DEFENDANT HARKRIDER:      Yes, your Honor.     I

 2      understand.    Thank you.

 3                 THE COURTROOM DEPUTY:      Your Honor --

 4                 PRETRIAL SERVICES OFFICER SHUCK:        Your Honor, this

 5      is Pretrial Services.

 6                 THE COURT:    Yes.

 7                 PRETRIAL SERVICES OFFICER SHUCK:        Pretrial

 8      Services has a couple questions in regards to the conditions

 9      that are being set, since he is going to be supervised by

10      the Eastern District of Texas.

11                 THE COURT:    Right.

12                 PRETRIAL SERVICES OFFICER SHUCK:        We need to know:

13      Is your Honor placing Mr. Harkrider on home detention or

14      home incarceration?

15                 THE COURT:    Home detention.

16                 PRETRIAL SERVICES OFFICER SHUCK:        Home detention.

17      Okay.

18                 And we would also request that he be required to

19      maintain his mental health treatment through the VA as a

20      condition of release.

21                 THE COURT:    Yes.   I think he said that he is going

22      to see the doctor as needed, [indiscernible] medicine, which

23      I understand some of these psychotropic medicines are --

24      some of those types of medicines can bother people.

25                 PRETRIAL SERVICES OFFICER SHUCK:        Of course.
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 1      Pretrial understands that.

 2                 But we would just like that to be a condition,

 3      that he maintain the treatment through the VA.

 4                 We would also like that he is not to possess

 5      narcotic drugs or other controlled substances unless it's

 6      prescribed by a licensed medical practitioner.

 7                 And I also believe your Honor stated that he is

 8      not to possess a firearm, destructive device or other

 9      weapon.

10                 THE COURT:    Well, I didn't say that, but I think

11      it's clear that he shouldn't at this point in any event.

12                 PRETRIAL SERVICES OFFICER SHUCK:        That is a

13      national standard in order for us to transfer supervision to

14      the Eastern District of Texas.

15                 THE COURT:    Yes.   It's standard.     So I think he

16      has to -- if he has any, he has to give up his guns anyway.

17                 PRETRIAL SERVICES OFFICER SHUCK:        We would also

18      request that he -- this is also standard when we transfer

19      people out -- that he pay all or part of the cost of the

20      location monitoring to be determined by that office.            If

21      they find that he is able to pay, then he will be required

22      to pay for the location monitoring.

23                 THE COURT:    If he's able to do that.

24                 PRETRIAL SERVICES OFFICER SHUCK:        Right.

25                 THE COURT:    He is on 100 percent disability.            He
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 1      gets disability payments.      I don't know about his situation

 2      on that.   They'll have to make a determination on whether he

 3      can afford that.

 4                 PRETRIAL SERVICES OFFICER SHUCK:        They'll make

 5      that determination.

 6                 THE COURT:    All right.

 7                 PRETRIAL SERVICES OFFICER SHUCK:        And then, just

 8      to put on there, we normally do "as directed" when we send

 9      out for courtesy to allow the other jurisdiction to

10      determine the reporting mode, whether it's going to be

11      in-person, by phone and the frequency; and especially since

12      he's going to be on location monitoring.         But if your Honor

13      wants to keep it as daily, we can put daily on the release

14      order.

15                 THE COURT:    That should be just by phone.          He does

16      not have to go somewhere every day to report in.

17                 PRETRIAL SERVICES OFFICER SHUCK:        It may be better

18      just to put it "as directed" to allow them to determine or,

19      like I said, if your Honor wants him calling in daily, I can

20      specify that on the release order.

21                 THE COURT:    I'll let them make the decision.         Go

22      ahead and tell them they can make the decision on how to

23      properly handle contacting Pretrial Services down there.            I

24      don't know that if that community -- it's over in the

25      Eastern District of Texas, over by, I think, Oklahoma and
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 1      the Louisiana border.      So I don't know how they do that

 2      there.   So I'd better leave it to their discretion to do

 3      that.

 4                   PRETRIAL SERVICES OFFICER SHUCK:      Now, I have not

 5      contacted them.     If they do not have GPS capabilities and

 6      they only have radio frequency, that means when he reaches

 7      home he will not be monitored in the community.           I know

 8      there are a couple districts within the country that only

 9      have what's called RF, radio frequency.         I don't know if

10      they're --

11                   THE COURT:   Check on that with them.      They may

12      have done some research on that.       I wasn't sure if they had

13      that.

14                   PRETRIAL SERVICES OFFICER SHUCK:      But I just

15      wanted to let the Court know that if he has to be put on RF

16      when he's out in the community, that he will not be

17      monitored.

18                   THE COURT:   Okay.    But he will have to be at home

19      at certain times in the evening, though.

20                   PRETRIAL SERVICES OFFICER SHUCK:      Yes.    But when

21      he's out, like, for his mental health, like with GPS, we can

22      monitor every step that he takes.

23                   THE COURT:   Right.

24                   PRETRIAL SERVICES OFFICER SHUCK:      With RF, you

25      can't do that.
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 1                 THE COURT:    Right.    All right.    That's fine.

 2                 PRETRIAL SERVICES OFFICER SHUCK:        Also, we would

 3      ask that he report any contact with law enforcement, to

 4      include questioning stops or, you know, any type of arrest.

 5                 THE COURT:    That's a standard condition.       Yes.

 6                 PRETRIAL SERVICES OFFICER SHUCK:        Thank you, your

 7      Honor.

 8                 THE COURT:    Well, I appreciate the help.       Thank

 9      you for that.

10                 All right, counsel.      On June 15th, I'll see you

11      back.

12                 MS. WEST:    Your Honor, may I ask Mr. Smith if he

13      would put me in a room with Mr. Harkrider just for a couple

14      minutes?   I know it's late.

15                 THE COURT:    If he's still here.

16                 THE COURTROOM DEPUTY:      I'm here.

17                 THE COURT:    I'm going to sign off.      Thank you all.

18                 MS. WEST:    Thank you, your Honor.

19                 MR. FILES:    Thank you, your Honor.

20                 THE COURTROOM DEPUTY:      Thank you.

21                 THE COURT:    Thank you, Mr. Files.

22                 (Proceedings concluded.)

23

24

25
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 1                                   CERTIFICATE

 2

 3                            I, LISA EDWARDS, RDR, CRR, do hereby

 4      certify that the foregoing constitutes a true and accurate

 5      transcript of my stenographic notes, and is a full, true,

 6      and complete transcript of the proceedings produced to the

 7      best of my ability.

 8                            Please note:    This hearing occurred

 9      during the COVID-19 pandemic and is therefore subject to the

10      technological limitations of reporting remotely.

11

12

13                            Dated this 9th day of August, 2021.

14

15                      /s/ Lisa Edwards, RDR, CRR
                        Official Court Reporter
16                      United States District Court for the
                          District of Columbia
17                      333 Constitution Avenue, NW, Room 6706
                        Washington, DC 20001
18                      (202) 354-3269

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